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Fillin this information to identify your case:

United States Bankruptcy Court for the:
DISTRICT OF NEVADA

Case number (if known) = Chapter you are filing under:

a Chapter 7
O Chapter 11
O Chapter 12

0 Chapter 13 O Check if this an
amended filing

 

 

 

Official Form 101
Voluntary Petition for Individuals Filing for Bankruptcy 12/47

The bankruptcy forms use you and Debtor 1 to refer to a debtor filing alone. A married couple may file a bankruptcy case together—called a joint
case—and in joint cases, these forms use you to ask for information from both debtors. For example, if a form asks, “Do you own a car,” the answer
would be yes if either debtor owns a car. When information is needed about the spouses separately, the form uses Debtor 1 and Debfor 2 to distinguish
between them. In joint cases, one of the spouses must report information as Debtor 7 and the other as Debtor 2. The same person must be Debtor 7 in
all of the forms.

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If

more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer
every question.

Identify Yourself

About Debtor 1: About Debtor 2 (Spouse Only in a Joint Case):

1. Your full name

Write the name that is on Jason

 

 

 

 

 

 

your government-issued First name ~ : First name ~ -
picture identification (for

example, your driver's Peter

license or passport). Middle name ~ Middle name

Brin r picture .

identification to your Kerrigan

meeting with the trustee. Last name and Suffix (Sr., Jr., Il, III) Last name and Suffix (Sr., Jr., Il, Il)

 

 

 

2. Allother names you have
used in the fast 8 years

Include your married or
maiden names.

 

 

3. Only the last 4 digits of
your Social Security
number or federal XxXx-xx-1989
Individual Taxpayer
Identification number
(ITIN)

 

 

Official Form 101 Voluntary Petition for Individuals Filing for Bankruptcy page 1
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Debtor? Jason Peter Kerrigan

4. Any business names and
Employer Identification
Numbers (EIN) you have
used in the last 8 years

Include trade names and
doing business as names

5. Where you live

About Debtor 1:

Bi | have not used any business name or EINs.

 

Business name(s)

 

“EINs

553 Ivy Spring Street
Las Vegas, NV 89138 ;
Number, Street, City, State & ZIP Code

 

Clark
County

 

If your mailing address is different from the one
above, fill it in here. Note that the court will send any
notices to you at this mailing address.

 

Number, P.O. Box, Street, City, State & ZIP Code

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Case number (if known)

 

About Debtor 2 (Spouse Only in a Joint Case):

C1 | have not used any business name or EINs.

 

Business name(s)

 

EINs

If Debtor 2 lives at a different address:

 

Number, Street, City, State & ZIP Code

County

{f Debtor 2's mailing address is different from yours, fill it
in here. Note that the court will send any notices to this
mailing address.

 

Number, P.O. Box, Street, City, State & ZIP Code

 

6. Why you are choosing
this district to file for
bankruptcy

Check one:

HO ver the last 180 days before filing this petition,
| have lived in this district longer than in any
other district.

O_thave another reason.
Explain. (See 28 U.S.C. § 1408.)

 

 

Official! Form 101

Check one:

O Over the last 180 days before filing this petition, |
have lived in this district longer than in any other
district.

0 _sthave another reason.
Explain. (See 28 U.S.C. § 1408.)

 

a

Voluntary Petition for Individuals Filing for Bankruptcy page 2
Debtor 1

Tell the Court About Your Bankruptcy Case

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Case number (if known)

 

 

Check one. (For a brief description of each, see Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy

 

 

 

 

 

 

 

 

7. The chapter of the
Bankruptcy Code you are (Form 2070)). Also, go to the top of page 1 and check the appropriate box.
choosing to file under

a Chapter 7

OD Chapter 11

Chapter 12

OC Chapter 13

8. Howyouwillpaythe fee [j | will pay the entire fee when | file my petition. Please check with the clerk's office in your local court for more details
about how you may pay. Typically, if you are paying the fee yourself, you may pay with cash, cashier's check, or money
order. If your attorney is submitting your payment on your behalf, your attorney may pay with a credit card or check with
a pre-printed address.

[]___| need to pay the fee in installments. If you choose this option, sign and attach the Application for Individuals to Pay
The Filing Fee in Installments (Official Form 103A). :

I request that my fee be waived (You may request this option only if you are filing for Chapter 7. By law, a judge may,
but is not required to, waive your fee, and may do so only if your income is less than 150% of the official poverty line that
applies to your family size and you are unable to pay the fee in installments). If you choose this option, you must fill out
the Application to Have the Chapter 7 Filing Fee Waived (Official Form 103B) and file it with your petition.

9. Have you filed for HNo

bankruptcy within the ,
last 8 years? C1 Yes.
District When Case number
District When Case number
District When Case number
10. Are any bankruptcy HNo
cases pending or being
filed by aspouse whois 1 Yes.
not filing this case with
you, or by a business
partner, or by an
affiliate?
Debtor Relationship to you
District When Case number, if known
Debtor Relationship to you
District ______ When Case number, if known
11. Do you rent your OONo. Go to line 12.
esidence?
resicence Bl yes. Has your landlord obtained an eviction judgment against you?

Ez No. Go to line 12.

O Yes. Fill out initial Statement About an Eviction Judgment Against You (Form 101A) and file it with this
bankruptcy petition.

 

Official! Form 101

 

Ve

Voluntary Petition for Individuals Filing for Bankruptcy page 3
Debtor 1

Case 19-16818-abl

Jason Peter Kerrigan

Case number (if known)

 

 

Report About Any Businesses You Own as a Sole Proprietor

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12. Are you a sole proprietor

of any full- or part-time
business?

A sole proprietorship is a
business you operate as
an individual, and is not a
separate legal entity such
as a corporation,
partnership, or LLC.

If you have more than one
sole proprietorship, use a

separate sheet and attach
it to this petition.

No.

O Yes.

Go to Part 4.

Name and location of business

 

Name of business, if any

 

Number, Street, City, State & ZIP Code

Check the appropriate box to describe your business:

OHoOooodgd

 

13.

Are you filing under
Chapter 11 of the
Bankruptcy Code and are
you a small business
debtor?

For a definition of small
business debtor, see 11
U.S.C. § 101(51D).

Health Care Business (as defined in 11 U.S.C. § 101(27A))
Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
Stockbroker (as defined in 11 U.S.C. § 101(53A))

Commodity Broker (as defined in 11 U.S.C. § 101(6))

None of the above

if you are filing under Chapter 11, the court must know whether you are a small business debtor so that it can set appropriate
deadlines. \f you indicate that you are a small business debtor, you must attach your most recent balance sheet, statement of
operations, cash-flow statement, and federal income tax return or if any of these documents do not exist, follow the procedure
in 11 U.S.C. 1116(1)(B).

No.

OONo.

2 Yes.

| am not filing under Chapter 41.

! am filing under Chapter 11, but 1am NOT a small business debtor according to the definition in the Bankruptcy

Code.

 

14,

lam filing under Chapter 11 and | am a small business debtor according to the definition in the Bankruptcy Code.

 

Report if You Own or Have Any Hazardous Property or Any Property That Needs Immediate Attention

 

Do you own or have any
property that poses or is
alleged to pose a threat
of imminent and
identifiable hazard to
public health or safety?
Or do you own any
property that needs
immediate attention?

For example, do you own
perishable goods, or
livestock that must be fed,
or a building that needs
urgent repairs?

Official Form 101

No.
0 Yes.

What is the hazard?

If immediate attention is
needed, why is it needed?

Where is the property?

 

 

 

Number, Street, City, State & Zip Code

Voluntary Petition for Individuals Filing for Bankruptcy

page 4
Case 19-16818-abl

Debtor! Jason Peter Kerrigan _ _ -
Explain Your Efforts to Receive a Briefing About Credit Counseling

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Case number (if known)

 

 

15. Tell the court whether
you have received a
briefing about credit
counseling.

The law requires that you
receive a briefing about
credit counseling before
you file for bankruptcy.
You must truthfully check
one of the following
choices. If you cannot do
so, you are not eligible to
file.

If you file anyway, the court
can dismiss your case, you
will lose whatever filing fee
you paid, and your
creditors can begin
collection activities again.

About Debtor 1:
You must check one:

| received a briefing from an approved credit oO
counseling agency within the 180 days before |

filed this bankruptcy petition, and | received a

certificate of completion.

Attach a copy of the certificate and the payment
plan, if any, that you developed with the agency.

| received a briefing from an approved credit oO
counseling agency within the 180 days before |

filed this bankruptcy petition, but | do not have

a certificate of completion.

Within 14 days after you file this bankruptcy
petition, you MUST file a copy of the certificate and
payment plan, if any.

I certify that | asked for credit counseling oO
services from an approved agency, but was

unable to obtain those services during the 7

days after | made my request, and exigent
circumstances merit a 30-day temporary waiver

of the requirement.

To ask for a 30-day temporary waiver of the
requirement, attach a separate sheet explaining
what efforts you made to obtain the briefing, why
you were unable to obtain it before you filed for
bankruptcy, and what exigent circumstances
required you to file this case.

Your case may be dismissed if the court is
dissatisfied with your reasons for not receiving a
briefing before you filed for bankruptcy.

If the court is satisfied with your reasons, you must
still receive a briefing within 30 days after you file.
You must file a certificate from the approved
agency, along with a copy of the payment plan you
developed, if any. If you do not do so, your case
may be dismissed.

Any extension of the 30-day deadline is granted

only for cause and is limited to a maximum of 15

days.

tam not required to receive a briefing about oO
credit counseling because of:

0 _sIncapacity.
| have a mental illness or a mental deficiency
that makes me incapable of realizing or
making rational decisions about finances.

O SOD isability.
My physical disability causes me to be
unable to participate in a briefing in person,
by phone, or through the internet, even after |
reasonably tried to do so.

OsActive duty.
{am currently on active military duty in a
military combat zone.

If you believe you are not required to receive a
briefing about credit counseling, you must file a
motion for waiver credit counseling with the court.

 

Official Form 101

Voluntary Petition for Individuals Filing for Bankruptcy

About Debtor 2 (Spouse Only in a Joint Case):
You must check one:

| received a briefing from an approved credit
counseling agency within the 180 days before | filed
this bankruptcy petition, and | received a certificate of
completion.

Attach a copy of the certificate and the payment plan, if
any, that you developed with the agency.

| received a briefing from an approved credit
counseling agency within the 180 days before | filed
this bankruptcy petition, but ! do not have a certificate
of completion.

Within 14 days after you file this bankruptcy petition, you
MUST file a copy of the certificate and payment plan, if
any.

| certify that | asked for credit counseling services
from an approved agency, but was unable to obtain
those services during the 7 days after | made my
request, and exigent circumstances merit a 30-day
temporary waiver of the requirement.

To ask for a 30-day temporary waiver of the requirement,
attach a separate sheet explaining what efforts you made
to obtain the briefing, why you were unable to obtain it
before you filed for bankruptcy, and what exigent
circumstances required you to file this case. ‘S

tothe
Your case may be dismissed if the court is dissatisfied
with your reasons for not receiving a briefing before you
filed for bankruptcy.

If the court is satisfied with your reasons, you must still
receive a briefing within 30 days after you file. You must
file a certificate from the approved agency, along with a
copy of the payment plan you developed, if any. If you do
not do so, your case may be dismissed.

Any extension of the 30-day deadline is granted only for
cause and is limited to a maximum of 15 days.

lam not required to receive a briefing about credit
counseling because of: }

0 sIncapacity. a
{ have a mental illness or a mental deficiency tha
makes me incapable of realizing or making rational
decisions about finances.

0 sODisability.
My physical disability causes me to be unable to
participate in a briefing in person, by phone, or
through the internet, even after | reasonably tried to
do so.

DD Active duty.
lam currently on active military duty in a military
combat zone.

If you believe you are not required to receive a briefing
about credit counseling, you must file a motion for waiver
of credit counseling with the court.

Mio

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Debtor’ Jason Peter Kerrigan

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Case number (if known)

 

 

Answer These Questions for Reporting Purposes wt

 

16. What kind of debts do
you have?

17. Are you filing under
Chapter 7?

Do you estimate that
after any exempt
property is excluded and

16a. Are your debts primarily consumer debts? Consumer debts are defined in 11 U.S.C. § 101(8) as “incurred 7 an
individual primarily for a personal, family, or household purpose.”

0 No. Go to line 16b.

Bl Yes. Go to line 17.

16b. Are your debts primarily business debts? Business debts are debts that you incurred to obtain
money for a business or investment or through the operation of the business or investment.

C1 No. Go to line 16c.
CO Yes. Go to line 17.
16c. State the type of debts you owe that are not consumer debts or business debts

 

OONo. | amnot filing under Chapter 7. Go to line 18.

HM yes. | am filing under Chapter 7. Do you estimate that after any exempt property is excluded and administrative expenses
” are paid that funds will be available to distribute to unsecured creditors?

 

 

administrative expenses HINo
are paid that funds will
be available for O Yes
distribution to unsecured
creditors?
18. How many Creditorsdo fm 4.49 C1 1,000-5,000 C1] 25,001-50,000
yee mate thatyou === 0.99 CO 5001-10,000 C0 50,001-100,000
. D1 10,001-25,000 0 More than100,000
0 100-199
CZ 200-999
19. How much do you I $0 - $50,000 CZ $1,000,001 - $10 million 2 $500,000,001 - $1 billion

estimate your assets to
be worth?

D0 $50,001 - $100,000
CT $100,001 - $500,000
0 $500,001 - $1 million

0 $10,000,001 - $50 million
D) $50,000,001 - $100 million
DC $100,000,001 - $500 million

© $1,000,000,001 - $10 billion,
1 $10,000,000,001 - $50 billion
CO More than $50 billion

 

20. How much do you
estimate your liabilities
to be?

Sign Below

For you

OD $0 - $50,000

DD $50,001 - $100,000
0D $100,001 - $500,000
BE $500,001 - $1 million

 

C1 $1,000,001 - $10 million

ZC $10,000,001 - $50 million
0 $50,000,001 - $100 million
0 $100,000,001 - $500 million

CD $500,000,001 - $4 billion

C] $1,000,000,001 - $10 billion
C $10,000,000,001 - $50 billion
O More than $50 billion

| have examined this petition, and | declare under penalty of perjury that the information provided is true and correct.

If | have chosen to file under Chapter 7, | am aware that | may proceed, if eligible, under Chapter 7, 11,12, or 13 of title 11,
United States Code. | understand the relief available under each chapter, and | choose to proceed under Chapter 7.

If no attorney represents me and | did not pay or agree to pay someone who is not an attorney to help me fill out this
document, | have obtained and read the notice required by 11 U.S.C. § 342(b).

| request relief in accordance with the chapter of title 11, United States Code, specified in this petition.

   
   

making a false statement, concealing property, or obtaining money or property by fraud in connection with a
wo in fines up to $250,000, or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519,

 

Signature of Debtor 2

Executed on October 21, 2019 Executed on

MM /DD/YYYY

 

 

MM/DD/YYYY

 

Official Form 101

Voluntary Petition for Individuals Filing for Bankruptcy
Case 19-16818-abl

Debtor 1

For your attorney, if you are
represented by one

If you are not represented by
an attorney, you do not need
to file this page.

Jason Peter Kerrigan

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Case number (if known)

 

|, the attorney for the debtor(s) named in this petition, declare that | have informed the debtor(s) about eligibility to proceed
under Chapter 7, 11, 12, or 13 of title 11, United States Code, and have explained the relief available under each chapter

for which the person is eligible. | also certify that | have delivered to the debtor(s) the notice required by 11 U.S.C. § 342(b)
and, in a case

  

schedules

Date

Lenard E. Schwartzer 0399

Printed name

Schwartzer & McPherson Law Firm
Firm name
2850 S. Jones Blivd., Suite 1

Las Vegas, NV 89146
Number, Street, City, State & ZIP Code

Contact phone (702) 228-7590 Email address

0399 NV

 

 

 

Bar number & State

which § 707(b)(4){(D) app ies. certify that | have no knowledge after an inquiry that the information in the

October 21, 2019
MM/DD/YYYY

bkfilings@s-mlaw.com

 

 

Official Form 101

Voluntary Petition for Individuals Filing for Bankruptcy

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Notice Required by 11 U.S.C. § 342(b) for
Individuals Filing for Bankruptcy (Form 2010)

 

This notice is for you if:

You are an individual filing for bankruptcy,
and

Your debts are primarily consumer debts.
Consumer debts are defined in 11 U.S.C.

§ 101(8) as “incurred by an individual
primarily for a personal, family, or

household purpose.”

 

 

Chapter 7: Liquidation

 

 

 

The types of bankruptcy that are available to
individuals

Individuals who meet the qualifications may file under
one of four different chapters of Bankruptcy Code:

Chapter 7 - Liquidation
Chapter 11 - Reorganization

Chapter 12 - Voluntary repayment plan
for family farmers or
fishermen

Chapter 13 - Voluntary repayment plan
for individuals with regular
income

You should have an attorney review your
decision to file for bankruptcy and the choice of
chapter.

Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010)

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$245 filing fee
$75 administrative fee
+ $15 trustee surcharge

$335 total fee

Chapter 7 is for individuals who have financial
difficulty preventing them from paying their debts
and who are willing to allow their nonexempt
property to be used to pay their creditors. The
primary purpose of filing under chapter 7 is to have
your debts discharged. The bankruptcy discharge
relieves you after bankruptcy from having to pay
many of your pre-bankruptcy debts. Exceptions exist
for particular debts, and liens on property may still
be enforced after discharge. For example, a creditor
may have the right to foreclose a home mortgage or
repossess an automobile.

However, if the court finds that you have committed
certain kinds of improper conduct described in the
Bankruptcy Code, the court may deny your
discharge.
You should know that even if you file chapter 7 and
you receive a discharge, some debts are not
discharged under the law. Therefore, you may still
be responsible to pay:

most taxes;

most student loans;

domestic support and property settlement

obligations;

page 1

Best Case Bankruptcy
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most fines, penalties, forfeitures, and criminal
restitution obligations; and

certain debts that are not listed in your bankruptcy
papers.

You may also be required to pay debts arising from:
fraud or theft;

fraud or defalcation while acting in breach of
fiduciary capacity;

intentional injuries that you inflicted; and

death or personal injury caused by operating a
motor vehicle, vessel, or aircraft while intoxicated
from alcohol or drugs.

lf your debts are primarily consumer debts, the court
can dismiss your chapter 7 case if it finds that you have
enough income to repay creditors a certain amount.
You must file Chapter 7 Statement of Your Current
Monthly Income (Official Form 122A—1) if you are an
individual filing for bankruptcy under chapter 7. This
form will determine your current monthly income and
compare whether your income is more than the median
income that applies in your state.

If your income is not above the median for your state,
you will not have to complete the other chapter 7 form,
the Chapter 7 Means Test Calculation (Official Form
122A-2).

If your income is above the median for your state, you
must file a second form —the Chapter 7 Means Test
Calculation (Official Form 122A-2). The calculations on
the form— sometimes called the Means Test—deduct
from your income living expenses and payments on
certain debts to determine any amount available to pay
unsecured creditors. If

Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010)

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your income is more than the median income for your
state of residence and family size, depending on the
results of the Means Test, the U.S. trustee, bankruptcy
administrator, or creditors can file a motion to dismiss
your case under § 707(b) of the Bankruptcy Code. If a
motion is filed, the court will decide if your case should
be dismissed. To avoid dismissal, you may choose to
proceed under another chapter of the Bankruptcy
Code.

If you are an individual filing for chapter 7 bankruptcy,
the trustee may sell your property to pay your debts,
subject to your right to exempt the property or a portion
of the proceeds from the sale of the property. The
property, and the proceeds from property that your
bankruptcy trustee sells or liquidates that you are
entitled to, is called exempt property. Exemptions may
enable you to keep your home, a car, clothing, and
household items or to receive some of the proceeds if
the property is sold.

Exemptions are not automatic. To exempt property,
you must list it on Schedule C: The Property You Claim
as Exempt (Official Form 106C). If you do not list the
property, the trustee may sell it and pay all of the
proceeds to your creditors.

Chapter 11: Reorganization

 

$1,167 filing fee

+ $550 administrative fee
$1,717 total fee
Chapter 11 is often used for reorganizing a business,

but is also available to individuals. The provisions of
chapter 11 are too complicated to summarize briefly.

f

page 2

Best Case Bankruptcy
Case 19-16818-abl

Read These Important Warnings

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Because bankruptcy can have serious long-term financial and legal consequences, including loss of
your property, you should hire an attorney and carefully consider all of your options before you file.
Only an attorney can give you legal advice about what can happen as a result of filing for bankruptcy
and what your options are. If you do file for bankruptcy, an attorney can help you fill out the forms
properly and protect you, your family, your home, and your possessions.

Although the law allows you to represent yourself in bankruptcy court, you should understand that
many people find it difficult to represent themselves successfully. The rules are technical, and a mistake
or inaction may harm you. If you file without an attorney, you are still responsible for knowing and

following all of the legal requirements.

You should not file for bankruptcy if you are not eligible to file or if you do not intend to file the

necessary documents.

Bankruptcy fraud is a serious crime; you could be fined and imprisoned if you commit fraud in your
bankruptcy case. Making a false statement, concealing property, or obtaining money or property by
fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to
20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

 

 

 

Chapter 12: Repayment plan for family
farmers or fishermen

 

 

$200 filing fee
+ $75 administrative fee
$275 total fee

Similar to chapter 13, chapter 12 permits family farmers
and fishermen to repay their debts over a period of time
using future earnings and to discharge some debts that
are not paid.

 

Chapter 13: Repayment plan for
individuals with regular
income

 

 

$235 filing fee
+ $75 administrative fee
$310 total fee

Chapter 13 is for individuals who have regular income
and would like to pay all or part of their debts in
installments over a period of time and to discharge
some debts that are not paid. You are eligible for
chapter 13 only if your debts are not more than certain
dollar amounts set forth in 11 U.S.C. § 109.

Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010)

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Under chapter 13, you must file with the court a plan
to repay your creditors all or part of the money that
you owe them, usually using your future earnings. If
the court approves your plan, the court will allow you
to repay your debts, as adjusted by the plan, within 3
years or 5 years, depending on your income and other
factors.

After you make all the payments under your plan,
many of your debts are discharged. The debts that are
not discharged and that you may still be responsible to
pay include:

domestic support obligations,

most student loans,

certain taxes,

debts for fraud or theft,

debts for fraud or defalcation while acting in a
fiduciary capacity,

most criminal fines and restitution obligations,

certain debts that are not listed in your
bankruptcy papers,

certain debts for acts that caused death or
personal injury, and

certain long-term secured debts.

y

page 3

Best Case Bankruptcy
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Warning: File Your Forms on Time

Section 521(a)(1) of the Bankruptcy Code requires that
you promptly file detailed information about your
creditors, assets, liabilities, income, expenses and
general financial condition. The court may dismiss your
bankruptcy case if you do not file this information within
the deadlines set by the Bankruptcy Code, the
Bankruptcy Rules, and the local rules of the court.

For more information about the documents and
their deadlines, go to:
http:/Awww.uscourts.gov/bkforms/bankruptcy form

s.html#procedure.

 

 

 

Bankruptcy crimes have serious consequences

If you knowingly and fraudulently conceal assets
or make a false oath or statement under penalty
of perjury—either orally or in writing—in
connection with a bankruptcy case, you may be
fined, imprisoned, or both.

All information you supply in connection with a
bankruptcy case is subject to examination by the
Attorney General acting through the Office of the
U.S. Trustee, the Office of the U.S. Attorney, and
other offices and employees of the U.S.
Department of Justice.

Make sure the court has your mailing address

The bankruptcy court sends notices to the mailing
address you list on Voluntary Petition for Individuals
Filing for Bankruptcy (Official Form 101). To ensure
that you receive information about your case,
Bankruptcy Rule 4002 requires that you notify the court
of any changes in your address.

Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010)

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A married couple may file a bankruptcy case
together—called a joint case. If you file a joint case and
each spouse lists the same mailing address on the
bankruptcy petition, the bankruptcy court generally will
mail you and your spouse one copy of each notice,
unless you file a statement with the court asking that
each spouse receive separate copies.

Understand which services you could receive from
credit counseling agencies

The law generally requires that you receive a credit
counseling briefing from an approved credit counseling
agency. 11 U.S.C. § 109(h). If you are filing a joint
case, both spouses must receive the briefing. With
limited exceptions, you must receive it within the 180
days before you file your bankruptcy petition. This
briefing is usually conducted by telephone or on the
Internet.

In addition, after filing a bankruptcy case, you generally
must complete a financial management instructional
course before you can receive a discharge. If you are
filing a joint case, both spouses must complete the
course.

You can obtain the list of agencies approved to provide
both the briefing and the instructional course from:
http://justice.gov/ust/eo/hapcpa/ccde/cc_approved.html

In Alabama and North Carolina, go to:
http://Awww.uscourts.gov/FederalCourts/Bankruptcy/
BankruptcyResources/ApprovedCredit

AndDebtCounselors.aspx.

If you do not have access to a computer, the clerk of
the bankruptcy court may be able to help you obtain

the list.

page 4

Best Case Bankruptcy
Case 19-16818-abl Doc1 Entered 10/22/19 14:14:11 Page 12 of 75

Fill in this information to identify your case:

Debtor 4 Jason Peter Kerrigan
First Name Middle Name Last Name

Debtor 2
{Spouse if, filing) First Name Middle Name Last Name

 

United States Bankruptcy Court for the: DISTRICT OF NEVADA

 

Casenumber ;
(if known) 0 Check if this is an

amended filing

 

 

Official Form 106Sum

Summary of Your Assets and Liabilities and Certain Statistical Information 12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. Fill out all of your schedules first; then complete the information on this form. If you are filing amended schedules after you file
your original forms, you must fill out a new Summary and check the box at the top of this page.

 

Summarize Your Assets

Your assets
Value of what you own

1. Schedule A/B: Property (Official Form 106A/B)

1a. Copy line 55, Total real estate, from Schedule A/B...... cece csssestsnerscesseenesscssserecscanssseaeessesssereesenseeeaeeees $ 0.00
1b. Copy line 62, Total personal property, from Schedule A/B. oo... cecesetcesesceeseseeesecseeesesececsicesssesseessevevsesseeeesaseees $ 15,256.90

1c. Copy line 63, Total of all property on Schedule A/Bo.o.. i cceecsnessseseeseseseseeneecsenenetstacseneneceeseeseseessarennesees $ 15,256.90

Ewa Summarize Your Liabilities _ ssp

Your liabilities
Amount you owe

 

2. Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D)

 

 

 

 

 

2a. Copy the total you listed in Column A, Amount of claim, at the bottom of the last page of Part 1 of Schedule D... $ 10,000.00
3. Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 106E/F)

3a. Copy the total claims from Part 1 (priority unsecured claims) from line 6e of Schedule E/F..........ccccccccscueeeees $ 5,851.53

3b. Copy the total claims from Part 2 (nonpriority unsecured claims) from line 6j of Schedule E/F..........cccccceeceees $ 579,836.56

Your total liabilities | $ 595,688.09
Summarize Your Income and Expenses

4. Schedule |: Your Income (Official Form 1061)

Copy your combined monthly income from line 12 of ScHECuIe Lo... cccscseesessseseessesesesessescsessrsssensessecsssescsessessessenes $ 2,536.97
5. Schedule J: Your Expenses (Official Form 106J)

Copy your monthly expenses from line 22c Of SCHEGUIO Joo... ecssscsssssesesscssesescseeseesesscseseseecesssessenssssscetes $ 3,320.00

Answer These Questions for Administrative and Statistical Records

6. Are you filing for bankruptcy under Chapters 7, 11, or 137
(1 No. You have nothing to report on this part of the form. Check this box and submit this form to the court with your other schedules.

M@ Yes
7. What kind of debt do you have?

Wi Your debts are primarily consumer debts. Consumer debts are those “incurred by an individual primarily for a personal, family, or
household purpose.” 11 U.S.C. § 101(8). Fill out lines 8-9g for statistical purposes. 28 U.S.C. § 159.

(Your debts are not primarily consumer debts. You have nothing to report on this part of the form. Check this box and submit this form to
the court with your other schedules.
Official Form 106Sum Summary of Your Assets and Liabilities and Certain Statistical Information page 1 of 2

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Vv
Case 19-16818-abl Doc1 Entered 10/22/19 14:14:11 Page 13 of 75

Debtor! Jason Peter Kerrigan ; Case number (if known)

 

8. From the Statement of Your Current Monthly Income: Copy your total current monthly income from Official Form
122A-1 Line 11; OR, Form 1228 Line 11; OR, Form 122C-1 Line 14. $ 3,381.38

 

 

 

9. Copy the following special categories of claims from Part 4, line 6 of Schedule E/F:

 

 

 

 

Total claim
From Part 4 on Schedule E/F, copy the following:
9a. Domestic support obligations (Copy line 6a.) $ 0.00
9b. Taxes and certain other debts you owe the government. (Copy line 6b.) $ 0.00
9c. Claims for death or personal injury while you were intoxicated. (Copy line 6c.) $ 0.00
9d. Student loans. (Copy line 6f.) $ 0.00
9e. Obligations arising out of a separation agreement or divorce that you did not report as
priority claims. (Copy line 6g.) 8.000
9f. Debts to pension or profit-sharing plans, and other similar debts. (Copy line 6h.) +$ 0.00
9g. Total. Add lines 9a through 9f. $ 0.00
7
Official Form 106Sum Summary of Your Assets and Liabilities and Certain Statistical Information page 2 of 2

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Case 19-16818-abl Doc1 Entered 10/22/19 14:14:11 Page 14 of 75

Fill in this information to identify your case and this filing:

Debtor 1 Jason Peter Kerrigan
First Name Middle Name Last Name

 

Debtor 2
(Spouse, if filing) First Name Middle Name Last Name

 

United States Bankruptcy Court forthe: DISTRICT OF NEVADA

 

Case number 0 Check if this is an
amended filing

 

 

 

Official Form 106A/B
Schedule A/B: Property 12/15

 

 

In each category, separately list and describe items. List an asset only once. If an asset fits in more than one category, list the asset in the category where you
think it fits best. Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known).
Answer every question.

Describe Each Residence, Building, Land, or Other Real Estate You Own or Have an Interest In

 

{. Do you own or have any legal or equitable interest in any residence, building, land, or similar property?

I No. Go to Part 2.
C1 Yes. where is the property?

Describe Your Vehicles

Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? Include any vehicles you own that
someone else drives. If you lease a vehicle, also report it on Schedule G: Executory Contracts and Unexpired Leases.

 

3. Cars, vans, trucks, tractors, sport utility vehicles, motorcycles

 

 

ONo

Byes

3.1. Make: Porsche Who has an interest in the property? Check one Do not deduct secured claims or exemptions. Put

: re the amount of any secured claims on Schedule D:
Model; 911 Carrera I Debtor 1 only Creditors Who Have Claims Secured by Property.
Years = 200200 C1 Debtor 2 only Current value of the Current value of the
Approximate mileage: _ 87,00 OC Debtor 1 and Debtor 2 only entire property? portion you own?
Other information: 0 Atleast one of the debtors and another
Salvage Title Rebuilt
C1 Check if this is community property — $10,000.00 $10,000.00
(see instructions)

 

 

 

 

 

4. Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
Examples: Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories

MNo
O Yes

 

5 Add the dollar value of the portion you own for al! of your entries from Part 2, including any entries for
pages you have attached for Part 2. Write that number here => $10,000.00

 

 

 

Describe Your Personal and Household Items

Do you own or have any legal or equitable interest in any of the following items? Current value of the
portion you own?
Do not deduct secured
claims or exemptions.

 

6. Household goods and furnishings
Examples: Major appliances, furniture, linens, china, kitchenware

ONo
Official Form 106A/B Schedule A/B: Property page 1
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f
Case 19-16818-abl Doc1 Entered 10/22/19 14:14:11 Page 15 of 75

Debtor 1 Jason Peter Kerrigan _ Case number (if known)

 

@ Yes. Describe...

 

 

| Various Household Goods and Furnishings _ $1,000.00

7. Electronics
Examples: Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners; music collections; electronic devices
including cell phones, cameras, media players, games
CINo

@ Yes. Describe...

 

|Home Electronics $1,200.00

 

 

 

8. Collectibles of value
Examples: Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects; stamp, coin, or baseball card collections;
other collections, memorabilia, collectibles

B No
O Yes. Describe.....

9. Equipment for sports and hobbies
Examples: Sports, photographic, exercise, and other hobby equipment; bicycles, pool tables, golf clubs, skis; canoes and kayaks; carpentry tools;
musical instruments

BNo
O1 Yes. Describe...

10. Firearms
Examples: Pistols, rifles, shotguns, ammunition, and related equipment

HI No
OC Yes. Describe...

11. Clothes
Examples: Everyday clothes, furs, leather coats, designer wear, shoes, accessories

O No
Ml Yes. Describe.....

 

| Suits & Other Clothing $500.00

12. Jewelry
Examples: Everyday jewelry, costume jewelry, engagement rings, wedding rings, heirloom jewelry, watches, gems, gold, silver

O No
Ml Yes. Describe.....

 

| Silver bracelets, ring and class ring $500.00

 

 

13. Non-farm animals
Examples: Dogs, cats, birds, horses

Hi No
D Yes. Describe.....

14. Any other personal and household items you did not already list, including any health aids you did not list
HI No
CO Yes. Give specific information...

 

15. Add the dollar value of all of your entries from Part 3, including any entries for pages you have attached

 

 

 

 

 

for Part 3. Write that number here $3,200.00
Ge Describe Your Financial Assets
Do you own or have any legal or equitable interest in any of the following? Current value of the

portion you own?
Do not deduct secured
Official Form 106A/B Schedule A/B: Property page 2

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Debtor 1 Jason Peter Kerrigan Case number (if known)

 

claims or exemptions.

16. Cash
Examples: Money you have in your wallet, in your home, in a safe deposit box, and on hand when you file your petition

O No

Cash $300.00

 

17. Deposits of money
Examples: Checking, savings, or other financial accounts; certificates of deposit; shares in credit unions, brokerage houses, and other similar
institutions. If you have multiple accounts with the same institution, list each.
CINo

Yes Institution name:

Wells Fargo Checking Account # 8605
11730 W. Charleston Blvd

 

 

17.1. Checking _Las Vegas, Nevada 89135 $196.89
Credit Union One Member No. 2327
Savings & 9004 West Sahara Avenue
17.2, Checking Las Vegas, Nevada 89117 $300.00

 

 

 

America First Credit Union Acct No. 3068
10965 Lavender Hill Drive, #190

 

 

 

17.3. Checking Las Vegas, Nevada 89135 _ $450.00
Minor Child Wells Fargo Bank Acct No. 7754
Account 11730 W. Charleston Blvd.

17.4. (Daughter's) Las Vegas, NV 89135 $0.00

 

 

18. Bonds, mutual funds, or publicly traded stocks
Examples: Bond funds, investment accounts with brokerage firms, money market accounts
HNo
O yes Institution or issuer name:

19. Non-publicly traded stock and interests in incorporated and unincorporated businesses, including an interest in an LLC, partnership, and
joint venture

0 No
Yes. Give specific information about them...................
Name of entity: % of ownership:

1/2 of 1 Share of Golden Valley Customs II (In
Receivership) 5 % $0.00

 

20. Government and corporate bonds and other negotiable and non-negotiable instruments
Negotiable instruments include personal checks, cashiers’ checks, promissory notes, and money orders.
Non-negotiable instruments are those you cannot transfer to someone by signing or delivering them.

Hino

OD Yes. Give specific information about them
Issuer name:

21. Retirement or pension accounts
Examples: interests in IRA, ERISA, Keogh, 401(k), 403(b), thrift savings accounts, or other pension or profit-sharing plans
1 No

§ Yes. List each account separately.
Type of account: Institution name:

Roth Contibutory IRA Charles Schwab Acct No. 0092
1120 N. Town Center Drive, Suite 170
Las Vegas, NV 89144 $342.82

 

Official Form 106A/B Schedule A/B: Property page 3
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Debtor 1 Jason Peter Kerrigan ee Case number (if known)
Rollover IRA Charles Schwab Acct No. 3843
1120 N. Town Center Drive, Suite 170
Las Vegas, NV 89144 _— $319.05

 

 

Schwab One Account Charles Schwab Acct No. 2342
1120 N. Town Center Drive, Suite 170
Las Vegas, NV 89144 ee $148.14

22. Security deposits and prepayments
Your share of all unused deposits you have made so that you may continue service or use from a company
Examples: Agreements with landlords, prepaid rent, public utilities (electric, gas, water), telecommunications companies, or others

B No
DYES. ooeeecesccssseeeee Institution name or individual:

23. Annuities (A contract for a periodic payment of money to you, either for life or for a number of years)

HNo
O Yes Issuer name and description.

24. Interests in an education IRA, in an account in a qualified ABLE program, or under a qualified state tuition program.
26 U.S.C. §§ 530(b)(1), 529A(b), and 529(b)(1).
C1 No

Institution name and description. Separately file the records of any interests.11 U.S.C. § 521(c):

Charles Schwab Schwab One Custodial Account for Minor Child Acct No.

3173
1120 N. Town Center Drive, Suite 170

Las Vegas, NV_ 89144 _ $0.00

25. Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or powers exercisable for your benefit
HNo
CO Yes. Give specific information about them...

26. Patents, copyrights, trademarks, trade secrets, and other intellectual property
Examples: Internet domain names, websites, proceeds from royalties and licensing agreements

HNo
CO Yes. Give specific information about them...

27. Licenses, franchises, and other general intangibles
Examples: Building permits, exclusive licenses, cooperative association holdings, liquor licenses, professional licenses

O No

Yes. Give specific information about them...

 

| Real Estate License (No Cash Value) «$0.00

Current value of the
portion you own?

Do not deduct secured
claims or exemptions.

Money or property owed to you?

28. Tax refunds owed to you
BH No
C1 Yes. Give specific information about them, including whether you already filed the returns and the tax years.......

29, Family support
Examples: Past due or lump sum alimony, spousal support, child support, maintenance, divorce settlement, property settlement

BNo
C1 Yes. Give specific information......

Official Form 106A/B Schedule A/B: Property fi page 4
Y

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Debtor 1 Jason Peter Kerrigan — Case number (if known)

 

30. Other amounts someone owes you
Examples: Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, workers’ compensation, Social Security
benefits; unpaid loans you made to someone else
M No

C Yes. Give specific information.

31. Interests in insurance policies
Examples: Health, disability, or life insurance; health savings account (HSA); credit, homeowner's, or renter’s insurance

ONo

I Yes. Name the insurance company of each policy and list its value.
Company name: Beneficiary: Surrender or refund
value:

American General Term Life Insurance

Policy No. 9489 (No Cash Value)

P.O. Box 305355 .

Nashville, TN 37230-5355 James Kerrigan $0.00

 

 

Prudential Term Life Insurance Policy

No. 8895 (No Cash Value)

P.O. Box 7960

Philadelphia, PA 19176 James Kerrigan $0.00

 

 

32. Any interest in property that is due you from someone who has died
If you are the beneficiary of a living trust, expect proceeds from a life insurance policy, or are currently entitled to receive property because
someone has died.

BNo
O Yes. Give specific information.

33. Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
Examples: Accidents, employment disputes, insurance claims, or rights to sue

Hino
C Yes. Describe each claim.........

34, Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and rights to set off claims
BNo

0 Yes. Describe each claim.........

35. Any financial assets you did not already list
HNo
CO Yes. Give specific information..

 

36. Add the dollar value of all of your entries from Part 4, including any entries for pages you have attached
for Part 4. Write that number here $2,056.90

 

 

 

Describe Any Business-Related Property You Own or Have an Interest In. List any real estate in Part 1.

 

37. Do you own or have any legal or equitable interest in any business-related property?
I No. Go to Part 6.

D1 Yes. Go to tine 38.

itlaasa Describe Any Farm- and Commercial Fishing-Related Property You Own or Have an Interest In.
If you own or have an interest in farmland, list it in Part 1.

 

46. Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?
WF No. Go to Part 7.

0 Yes. Go to line 47.

eae Describe All Property You Own or Have an Interest in That You Did Not List Above

Official Form 106A/B Schedule A/B: Property iy page 5

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Debtor 1 Jason Peter Kerrigan _ Case number (if known)

53. Do you have other property of any kind you did not already list?
Examples: Season tickets, country club membership

HNo
C Yes. Give specific information.........

 

54. Add the dollar value of all of your entries from Part 7. Write that number here .........cccsssssssssescesereres $0.00

 

 

 

List the Totals of Each Part of this Form

 

55. Part 1: Total real estate, line 2 $0.00
56. Part 2: Total vehicles, line 5

57. Part 3: Total persona! and household items, line 15
58. Part 4: Total financial assets, line 36

$10,000.00
$3,200.00

$2,056.90

59. Part 5: Total business-related property, line 45 $0.00
60. Part 6: Total farm- and fishing-related property, line 52 $0.00
61. Part 7: Total other property not listed, line 54 + $0.00

62. Total personal property. Add lines 56 through 61... Copy personal property total

$15,256.90 $15,256.90

 

63. Total of all property on Schedule A/B. Add line 55 + line 62 $15,256.90

 

 

 

b/

Official Form 106A/B Schedule A/B: Property page 6
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Case 19-16818-abl Doc1 Entered 10/22/19 14:14:11 Page 20 of 75

Fill in this information to identify your case:

Debtor 1 Jason Peter Kerrigan
First Name Middle Name Last Name

 

Debtor 2 ———_ =
(Spouse if, filing) First Name Middie Name Last Name

 

United States Bankruptcy Court forthe: DISTRICT OF NEVADA

Case number
(if known) 00 Check if this is an
amended filing

 

 

 

Official Form 106C
Schedule C: The Property You Claim as Exempt 4/19

 

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. Using
the property you listed on Schedule A/B: Property (Official Form 106A/B) as your source, list the property that you claim as exempt. If more space is
needed, fill out and attach to this page as many copies of Part 2: Additional Page as necessary. On the top of any additional pages, write your name and
case number (if known).

For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so is to state a
specific dollar amount as exempt. Alternatively, you may claim the full fair market value of the property being exempted up to the amount of
any applicable statutory limit. Some exemptions—such as those for health aids, rights to receive certain benefits, and tax-exempt retirement
funds—may be unlimited in dollar amount. However, if you claim an exemption of 100% of fair market value under a law that limits the
exemption to a particular dollar amount and the value of the property is determined to exceed that amount, your exemption would be limited
to the applicable statutory amount.

Identify the Property You Claim as Exempt _

 

 

1. Which set of exemptions are you claiming? Check one only, even if your spouse is filing with you.
Wi you are claiming state and federal nonbankruptcy exemptions. 11 U.S.C. § 522(b)(3)
C1 You are claiming federal exemptions. 11 U.S.C. § 522(b)(2)

2. For any property you list on Schedule A/B that you claim as exempt, fill in the information below.

 

 

 

 

Brief description of the property and line on Current value of the Amount of the exemption you claim Specific laws that allow exemption
Schedule A/B that lists this property portion you own

Copy the value from Check only one box for each exemption.

Schedule A/B
2002 Porsche 911 Carrera 87,000 $10,000.00 w@ $0.00 Nev. Rev. Stat. § 21.090(1)(f)
miles << -
Salvage Title Rebuilt 1 100% of fair market value, up to
Line from Schedule A/B: 3.1 any applicable statutory limit
Various Household Goods and $1,000.00 $1,000.00 Nev. Rev. Stat. § 21.090(1)(b)
Furnishings : ,
Line from Schedule A/B: 6.1 O 100% of fair market value, up to

any applicable statutory limit

 

 

Home Electronics $1,200.00 $1,200.00 Nev. Rev. Stat. § 21.090(1)(b)
Line from Schedule A/B: 7.1 , ,

 

D0 100% of fair market value, up to
any applicable statutory limit

 

 

 

Suits & Other Clothing $500.00 $500.00 Nev. Rev. Stat. § 21.090(1)(b)
Line from Schedule A/B: 11.1

 

O 400% of fair market value, up to
any applicable statutory limit

 

 

Silver bracelets, ring and class ring $500.00 $500.00 Nev. Rev. Stat. § 21.090(1)(a)
Line from Schedule A/B: 12.1

 

O 100% of fair market value, up to
any applicable statutory limit

 

Official Form 106C Schedule C: The Property You Claim as Exempt I, page 1 of 3
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Debtor 1

Case 19-16818-abl

Jason Peter Kerrigan

Case number (if known)

 

Current value of the
portion you own

Brief description of the property and line on
Schedule A/B that lists this property

Copy the value from

Amount of the exemption you claim

Check only one box for each exemption.

 

 

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Specific laws that allow exemption

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Value)

P.O. Box 305355

Nashville, TN 37230-5355
Beneficiary: James Kerrigan
Line from Schedule A/B: 31.1

any applicable statutory limit

Schedule A/B

Cash $300.00 $300.00 Nev. Rev. Stat. § 21.090(1)(z)
Line from Schedule A/B: 16.1

CO 100% of fair market value, up to

any applicable statutory limit

Checking: Wells Fargo Checking $196.89 i $196.89 Nev. Rev. Stat. § 21.090(1)(z)
Account # 8605
11730 W. Charleston Blvd OC 400% of fair market value, up to
Las Vegas, Nevada 89135 any applicable statutory limit
Line from Schedule A/B: 17.1
Savings & Checking: Credit Union $300.00 $300.00 Nev. Rev. Stat. § 21.090(1)(z)
One Member No. 2327
9004 West Sahara Avenue 1 100% of fair market value, up to
Las Vegas, Nevada 89117 any applicable statutory limit
Line from Schedule A/B: 17.2
Checking: America First Credit Union $450.00 $450.00 Nev. Rev. Stat. § 21.090(1)(z)
Acct No. 3068
10965 Lavender Hill Drive, #190 C1 400% of fair market value, up to
Las Vegas, Nevada 89135 any applicable statutory limit
Line from Schedule A/B: 17.3
Minor Child Account (Daughter's): $0.00 $0.00 Nev. Rev. Stat. § 21.090(1)(z)
Wells Fargo Bank Acct No. 7754
11730 W. Charleston Blvd. C) 400% of fair market value, up to
Las Vegas, NV 89135 any applicable statutory limit
Line from Schedule A/B: 17.4
Roth Contibutory IRA: Charles $342.82 $342.82 Nev. Rev. Stat. § 21.090(1)(r)
Schwab Acct No. 0092
1120 N. Town Center Drive, Suite 170 DO 100% of fair market value, up to
Las Vegas, NV 89144 any applicable statutory limit
Line from Schedule A/B: 21.1
Rollover IRA: Charles Schwab Acct $319.05 i $319.05 Nev. Rev. Stat. § 21.090(1)(r)
No. 3843
1120 N. Town Center Drive, Suite 170 O 400% of fair market value, up to
Las Vegas, NV 89144 any applicable statutory limit
Line from Schedule A/B: 21.2 -
Schwab One Account: Charles $148.14 ff $148.14 Nev. Rev. Stat. § 21.090(1)(r)
Schwab Acct No. 2342
1120 N. Town Center Drive, Suite 170 O 100% of fair market value, up to
Las Vegas, NV 89144 any applicable statutory limit
Line from Schedule A/B: 21.3
American General Term Life $0.00 Nev. Rev. Stat. § 21.090(1)(k)
Insurance Policy No. 9489 (No Cash

Hi 100% of fair market value, up to

 

Official Form 106C
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Schedule C: The Property You Claim as Exempt

page 2 of 3
Best Case Bankruptcy
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Debtor1 Jason Peter Kerrigan ; 7 _ Case number (if known)
Brief description of the property and line on Current value of the Amount of the exemption you claim Specific laws that allow exemption
Schedule A/B that lists this property portion you own
Copy the value from Check only one box for each exemption.
Schedule A/B
Prudential Term Life Insurance $0.00 Nev. Rev. Stat. § 21.090(1)(k)
Policy No. 8895 (No Cash Value)
P.O. Box 7960 HE 100% of fair market value, up to
Philadelphia, PA 19176 any applicable statutory limit

Beneficiary: James Kerrigan
Line from Schedule A/B: 31.2

 

3. Are you claiming a homestead exemption of more than $170,350?
(Subject to adjustment on 4/01/22 and every 3 years after that for cases filed on or after the date of adjustment.)

BM No

Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?

 

O No
O Yes
Officia! Form 106C Schedule C: The Property You Claim as Exempt page 3 of 3

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Case 19-16818-abl Doc1 Entered 10/22/19 14:14:11 Page 23 of 75

Fill in this information to identify your case:

Debtor 4 Jason Peter Kerrigan
First Name Middle Name Last Name

 

Debtor 2
(Spouse if, filing) First Name Middie Name Last Name

 

United States Bankruptcy Court forthe: DISTRICT OF NEVADA

Case number _ : ee
(if known) C] Check if this is an
amended filing

 

 

Official Form 106D
Schedule D: Creditors Who Have Claims Secured by Property 12/15

 

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If more space
is needed, copy the Additional Page, fill it out, number the entries, and attach it to this form. On the top of any additional pages, write your name and case
number (if known).

1. Do any creditors have claims secured by your property?
C1 No. Check this box and submit this form to the court with your other schedules. You have nothing else to report on this form.
BB Yes. Fill in all of the information below.

List All Secured Claims

 

 

 

 

 

 

 

 

 

. wo . Column A Column B Column C
2. List all secured claims. If a creditor has more than one secured claim, list the creditor separately
for each claim. If more than one creditor has a particular claim, list the other creditors in Part 2. As Amount of claim Value of collateral Unsecured
much as possible, list the claims in alphabetical order according to the creditor's name. Do not deduct the that supports this portion
value of collateral. claim If any
2.1 | Luis Castro Describe the property that secures the claim: $10,000.00 $10,000.00 $0.00
Creditors Name 2002 Porsche 911 Carrera 87,000
miles
Salvage Title Rebuilt
. . im is:
248 Hillcrest Drive oer the date you file, the claim is: Check all that
Henderson, NV 89015 O contingent
Number, Street, City, State & Zip Code CO unliquidated
O Disputed
Who owes the debt? Check one. Nature of lien. Check all that apply.
& Debtor 1 only Ban agreement you made (such as mortgage or secured
O Debtor 2 only car loan)
OC Debtor 1 and Debtor 2 only Oo Statutory lien (such as tax lien, mechanic's lien)
C1 Atleast one of the debtors and another 9 Judgment lien from a fawsuit
CO Check if this claim relates to a D other (including a right to offset)
community debt
Date debt was incurred 09/22/2016 Last 4 digits of accountnumber None
Add the dollar value of your entries In Column A on this page. Write that number here: $10,000.00
If this is the last page of your form, add the dollar value totals from al! pages.
Write that number here: $10,000.00

 

 

 

List Others to Be Notified for a Debt That You Already Listed

Use this page only if you have others to be notified about your bankruptcy for a debt that you already listed in Part 1. For example, if a collection agency is
trying to collect from you for a debt you owe to someone else, list the creditor in Part 1, and then list the collection agency here. Similarly, if you have more
than one creditor for any of the debts that you listed in Part 1, list the additional creditors here. If you do not have additional persons to be notified for any

debts in Part 1, do not fill out or submit this page.

Official Form 106D Schedule D: Creditors Who Have Claims Secured by Property page 1 of 1
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Fill in this information to identify your case:

 

 

 

 

Debtor 1 Jason Peter Kerrigan

First Name Middle Name Last Name
Debtor2 __
(Spouse if, filing) First Name Middle Name Last Name

United States Bankruptcy Court forthe: DISTRICT OF NEVADA

 

Casenumber  __ : a
(if known) 1 Check if this is an
amended filing

 

Official Form 106E/F
Schedule E/F: Creditors Who Have Unsecured Claims 12/15

Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY claims and Part 2 for creditors with NONPRIORITY claims, List the other party to
any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule AJB: Property (Official Form 106A/B) and on
Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G). Do not include any creditors with partially secured claims that are listed in
Schedule D: Creditors Who Have Claims Secured by Property. if more space is needed, copy the Part you need, fill it out, number the entries in the boxes on the
left. Attach the Continuation Page to this page. If you have no information to report in a Part, do not file that Part. On the top of any additional pages, write your
name and case number (if known).

laa List All of Your PRIORITY Unsecured Claims
1. Do any creditors have priority unsecured claims against you?
D No. Go to Part 2.

 

i Yes,

2. List all of your priority unsecured claims. If a creditor has more than one priority unsecured claim, list the creditor separately for each claim. For each claim listed,
identify what type of claim it is. if a claim has both priority and nonpriority amounts, list that claim here and show both priority and nonpriority amounts. As much as
possible, list the claims in alphabetical order according to the creditor's name. If you have more than two priority unsecured claims, fill out the Continuation Page of
Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.

(For an explanation of each type of claim, see the instructions for this form in the instruction booklet.)

 

 

 

 

 

Total claim Priority Nonpriority
amount amount
2.4 Internal Revenue Service Last 4 digits of account number 1989 __ $5,851.53 $5,851.53 $0.00
Priority Creditor's Name
Department of the Treasury When was the debt incurred? 2015
P.O. Box 9019
Holtsville, NY 11742-9019
Number Street City State Zip Code As of the date you file, the claim is: Check all that apply
Who incurred the debt? Check one. | Contingent
@ Debtor 1 only 1 untiquidated
C1 Debtor 2 only D disputed
O Debtor 1 and Debtor 2 only Type of PRIORITY unsecured claim:
C1 At teast one of the debtors and another C Domestic support obligations
01 Check if this claim is fora community debt 1 Taxes and certain other debts you owe the government
Is the claim subject to offset? CO ciaims for death or personal injury while you were intoxicated
No WI other. Specity Certain farmers and fishermen
0 ves 2015 Income Taxes Owed
Official Form 106 E/F Schedule E/F: Creditors Who Have Unsecured Claims Page 1 of 23

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Internal Revenue Service Last 4 digits of account number 1989 Unknown Unknown Unknown
Priority Creditor's Name
Department of the Treasury When was the debt incurred? 2016
P.O. Box 9019
Holtsville, NY 11742-9019
Number Street City State Zip Code As of the date you file, the claim is: Check all that apply
Who incurred the debt? Check one. C] contingent
I Debtor 1 only DO unliquidated
D Debtor 2 only oO Disputed
O Debtor 1 and Debtor 2 only Type of PRIORITY unsecured claim:
Oat teast one of the debtors and another CF) Domestic support obligations
O) Check if this claim is for a community debt @ Taxes and certain other debts you owe the government
Is the claim subject to offset? D claims for death or personal injury while you were intoxicated
Hino CO other. Specify
0 Yes 2016 Income Taxes Owed - Audit Pending
2.3 Internal Revenue Service Last 4 digits of account number 1989 Unknown Unknown Unknown
Priority Creditor's Name
Department of the Treasury When was the debt Incurred? 2017
P.O. Box 9019
Holtsville, NY 11742-9019
Number Street City State Zip Code As of the date you file, the claim Is: Check all that apply
Who incurred the debt? Check one. C1 contingent
B® Debtor 4 only DF unliquidated
DO bDebtor 2 only D Disputed
© Debtor 1 and Debtor 2 only Type of PRIORITY unsecured claim:
CO At least one of the debtors and another C1 Domestic support obligations
D check if this claim is for a community debt WB taxes and certain other debts you owe the government
Is the claim subject to offset? O Claims for death or personal injury while you were intoxicated
Bno CO other. Specify
O yes 2017 Income Taxes Owed - Audit Pending
2.4 Internal Revenue Service Last 4 digits of account number 1989 Unknown Unknown Unknown

 

List All of Your NONPRIORITY Unsecured Claims
3.

Official Form 106 E/F
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Priority Creditor's Name
Department of the Treasury
P.O. Box 9019

Holtsville, NY 11742-9019
Number Street City State Zip Code

Who incurred the debt? Check one.

 

§ bebtor 1 only

C1 Debtor 2 only

CO Debtor 1 and Debtor 2 only

CO At least one of the debtors and another

C1 Check if this claim Is for a community debt
Is the claim subject to offset?

Bi no
0 yes

 

When was the debt incurred? 2018

As of the date you file, the claim is: Check all that apply
0 Contingent
0 Unliquidated

Oo Disputed
Type of PRIORITY unsecured claim:

C1 Domestic support obligations

WB taxes and certain other debts you owe the government

C1 Claims for death or personal injury while you were intoxicated
O other. Specify

 

2018 Income Taxes Owed - Audit Pending

 

 

Do any creditors have nonpriority unsecured claims against you?

C1 No. You have nothing to report in this part. Submit this form to the court with your other schedules.

HH ves.

List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one nonpriority
unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already included in Part 1. If more
than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured claims fill out the Continuation Page of

Schedule E/F: Creditors Who Have Unsecured Claims

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Part 2.
Total claim

Adam Kesselheim Last 4 digits of account number None $9,142.00
Nonpriority Creditor's Name
1605 Sussex Street, #202 When was the debt incurred? 2016
Las Vegas, NV 89144
Number Street City State Zip Code As of the date you file, the claim is: Check all that apply
Who incurred the debt? Check one. a
Wi pebtor 1 only Oo Contingent
C1 Debtor 2 only D Unliquidated
CO Debtor 4 and Debtor 2 only | Disputed
C1 Atleast one of the debtors and another Type of NONPRIORITY unsecured claim:
O Check if this claim Is for a community C1 student loans
debt 0 Obligations arising out of a separation agreement or divorce that you did not
Is the claim subject to offset? report as priority claims
Hino D Debts to pension or profit-sharing plans, and other similar debts
D Yes other. Specify Personal Loan

4.2 American Express Blue Last 4 digits of accountnumber 3007 ee $164.38
Nonpriority Creditor's Name
Box 0001 When was the debt incurred? 2016 —

_Los Angeles, CA 90096-8000

Number Street City State Zip Code As of the date you file, the claim is: Check all that apply
Who Incurred the debt? Check one.
I bebtor 1 only D Contingent
D Debtor 2 only CZ unliquidated
CO Debtor 1 and Debtor 2 only Oo Disputed
CO At teast one of the debtors and another Type of NONPRIORITY unsecured claim:
D1 Check if this claim is for a community C1 student loans
debt oO Obligations arising out of a separation agreement or divorce that you did not
Is the claim subject to offset? teport as priority claims
Hino CZ) debts to pension or profit-sharing plans, and other similar debts
C yes Mi other. Specify Credit card purchases 7 -

_American Express Centerion Last 4 digits of accountnumber 4001 | _ $237,853.92
Nonpriority Creditor's Name
Box 0001 When was the debt incurred? 2016
Los Angeles, CA 90096-8000
Number Street City State Zip Code As of the date you file, the claim is: Check all that apply
Who Incurred the debt? Check one.
DO pDebtor 1 only O contingent
C1 Debtor 2 only D unliquidated
CZ Debtor 1 and Debtor 2 only D bdisputed
88 At least one of the debtors and another Type of NONPRIORITY unsecured claim:
CO Check if this ctaim Is fora community C1 student ioans
debt oO Obligations arising out of a separation agreement or divorce that you did not
Is the claim subject to offset? report as priority claims
B no D betts to pension or profit-sharing plans, and other similar debts

Credit card purchases (JK Crew for Media

O Yes other. Specify Buys)

Official Form 106 E/F Schedule E/F: Creditors Who Have Unsecured Claims / Page 3 of 23

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44 American Express Gold

 

 

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Last 4 digits of accountnumber 2005 $160.00

Nonpriority Creditor's Name
P.O. Box 0001 When was the debt incurred? 2016 —_ -
Los Angeles, CA 90096-8000
Number Street City State Zip Code As of the date you file, the claim is: Check all that apply
Who incurred the debt? Check one.
B pebtor 1 only oO Contingent
D Debtor 2 only Oo Unliquidated
O Debtor 4 and Debtor 2 only D Disputed
7 Atleast one of the debtors and another Type of NONPRIORITY unsecured claim:
CO Check if this claim is for a community C1 student toans
debt oO Obligations arising out of a separation agreement or divorce that you did not
Is the claim subject to offset? report as priority claims
no OD betts to pension or profit-sharing plans, and other similar debts
O ves WB other. Specify Credit card purchases

4.5 American Express Optima Last 4 digits of accountnumber 5003 $1,400.00
Nonpriority Creditor's Name
P.O. Box 0001 When was the debt incurred? 2016
Los Angeles, CA 90096-8000
Number Street City State Zip Code As of the date you file, the claim is: Check all that apply
Who incurred the debt? Check one.
BB bebtor 1 only oO Contingent
O pebtor 2 only O Unliquidated
0 debtor 4 and Debtor 2 only D Disputed
CO At teast one of the debtors and another Type of NONPRIORITY unsecured claim:
O Check if this claim is for a. community D1 student loans
debt O obligations arising out of a separation agreement or divorce that you did not
Is the claim subject to offset? report as priority claims
Hino O Debts to pension or profit-sharing plans, and other similar debts
0 Yes WM other. Specify Credit card purchases

46 American Medical Response Last 4 digits of account number 5903 $1,097.05
Nonpriority Creditor's Name
7201 W. Post Road When was the debt incurred? 12/8/16
Las Vegas, NV 89113
Number Street City State Zip Code As of the date you file, the claim is: Check all that apply
Who incurred the debt? Check one.
a Debtor 1 only oO Contingent
OD Debtor 2 only DO unliquidated
C1 Debtor 1 and Debtor 2 only Oo Disputed
CZ At least one of the debtors and another Type of NONPRIORITY unsecured claim:
C1 Check if this claim is for a community CI student loans
debt oO Obligations arising out of a separation agreement or divorce that you did not
Is the claim subject to offset? report as priority claims
Bi no OC betts to pension or profit-sharing plans, and other similar debts
0 Yes I other. Specify Medical Debt

Official Form 106 E/F Schedule E/F: Creditors Who Have Unsecured Claims Page 4 of 23

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American Medical Response —_— Last 4 digits of accountnumber 5202 $281.68
Nonpriority Creditor's Name
7201 W. Post Road When was the debt incurred? 12/8/1 6 -
Las Vegas, NV 89113
Number Street City State Zip Code As of the date you file, the claim is: Check all that apply
Who incurred the debt? Check one,
BF pebtor 1 only | Contingent
D Debtor 2 only oO Unliquidated
D debtor 1 and Debtor 2 only Oo Disputed
CZ At teast one of the debtors and another Type of NONPRIORITY unsecured claim:
O check if this claim Is fora community C) student loans
debt D Obligations arising out of a separation agreement or divorce that you did not
Is the claim subject to offset? report as priority claims
BNno D debts to pension or profit-sharing plans, and other similar debts
0 Yes WB other. Specify Medical Debt
48 American Medical Response Last 4 digits of accountnumber 8301 $312.05
Nonpriority Creditor's Name
7201 W. Post Road When was the debt incurred? 12/16/16
Las Vegas, NV 89113-9000 _
Number Street City State Zip Code As of the date you file, the claim is: Check all that apply
Who incurred the debt? Check one.
& pebtor 1 only oO Contingent
D debtor 2 only | Unliquidated
D Debtor 1 and Debtor 2 only Oo Disputed
D Atleast one of the debtors and another Type of NONPRIORITY unsecured claim:
C] check if this claim is for a community C1 student loans
debt CZ obligations arising out of a separation agreement or divorce that you did not
Is the claim subject to offset? report as priority claims
Hino O Debts to pension or profit-sharing plans, and other similar debts
0 Yes I other. Specify Medical Debt
49 Bank of America Last 4 digits of accountnumber 0855 _ $15,382.00
Nonpriority Creditor's Name
P.O. Box 851001 When was the debt incurred? 2016
Dallas, TX 75285-1001
Number Street City State Zip Code As of the date you file, the claim is: Check all that apply
Who incurred the debt? Check one.
BB pebtor 1 only D Contingent
D debtor 2 only Oo Unliquidated
CO Debtor 1 and Debtor 2 only D Disputed
CO Atteast one of the debtors and another Type of NONPRIORITY unsecured claim:
O Check if this claim is for a community C2 student loans
debt 0 Obligations arising out of a separation agreement or divorce that you did not
Is the claim subject to offset? report as priority claims
No O Debts to pension or profit-sharing plans, and other similar debts
O ves Mother. Specify Credit card purchases
Official Form 106 E/F Schedule E/F: Creditors Who Have Unsecured Claims Page 5 of 23

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44 .
0 Bank of America Last 4 digits of account number 7235 $42,224.19
Nonpriority Creditor's Name
P.O. Box 982235 When was the debt incurred? 2016
El Paso, TX 79998-2235
Number Street City State Zip Code As of the date you file, the claim is: Check all that apply
Who incurred the debt? Check one.
BB pebtor 1 only oO Contingent
O bebtor 2 only Oo Unliquidated
CO Debtor 1 and Debtor 2 only 0 Disputed
1 Atleast one of the debtors and another Type of NONPRIORITY unsecured claim:
O Check if this claim is for a community C1 student toans
debt Oo Obligations arising out of a separation agreement or divorce that you did not
Is the claim subject to offset? report as priority claims
HNo O Debts to pension or profit-sharing plans, and other similar debts
Dyes WM other. Specify Credit card purchases
41
1 Barclays Luxury Card Last 4 digits of account number 3047 $33,81 8.70
Nonpriority Creditor's Name _
P.O. Box 60517 When was the debt Incurred? 2016
City of Industry, CA 91716-0517
Number Street City State Zip Code As of the date you file, the claim Is: Check all that apply
Who incurred the debt? Check one.
Wl pebtor 1 only Oo Contingent
Ci debtor 2 only oO Unliquidated
OC Debtor 1 and Debtor 2 only Bb Disputed
CO Atleast one of the debtors and another Type of NONPRIORITY unsecured claim:
0 Check if this claim is for a community Cl student toans
debt 0 Obligations arising out of a separation agreement or divorce that you did not
{s the claim subject to offset? report as priority claims
Bi no O Debts to pension or profit-sharing plans, and other similar debts
0 Yes I other. Specify Credit card purchases
44
2 Barclays Wyndham Rewards Last 4 digits of account number 9507 $12,386.51
Nonpriority Creditor's Name
Card Services When was the debt incurred? 2016
P.O. Box 60517
City of Industry, CA 91716-0517
Number Street City State Zip Code As of the date you file, the claim is: Check al! that apply
Who incurred the debt? Check one.
BH pebtor 1 only oO Contingent
D bebtor 2 only D0 Unliquidated
C1 Debtor 1 and Debtor 2 only D Disputed
7 At least one of the debtors and another Type of NONPRIORITY unsecured clalm:
O Check if this claim is for a community C] student loans
debt Oo Obligations arising out of a separation agreement or divorce that you did not
Is the claim subject to offset? report as priority claims
Hino C1 Debts to pension or profit-sharing plans, and other similar debts
D Yes Ml other. Specity Credit card purchases _
Official Form 106 E/F Schedule E/F: Creditors Who Have Unsecured Claims Page 6 of 23

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Black & LoBello Attorneys at Law

 

 

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13 Last 4 digits of account number $19,991.16
Nonpriority Creditor's Name
10777 W. Twain Ave., Suite 300 When was the debt incurred? 3/2019
Las Vegas, NV 89135
Number Street City State Zip Code As of the date you file, the claim is: Check all that apply
Who incurred the debt? Check one.
debtor 1 only oO Contingent
D Debtor 2 only C1 unliquidated
CO Debtor 4 and Debtor 2 only 0 Disputed
CO At least one of the debtors and another Type of NONPRIORITY unsecured claim:
Ci Check if this claim is for a community C1 Student loans
debt O obligations arising out of a separation agreement or divorce that you did not
Is the claim subject to offset? report as priority claims
Hino D Debts to pension or profit-sharing plans, and other similar debts
D ves Wi other ity Unpaid Legal Fees (Child Custody Dispute

Other. Specify

4.1 .

4 BMW Card Services Last 4 digits of accountnumber 6528 $10,014.98
Nonpriority Creditor's Name
P.O. Box 660545 When was the debt incurred? 2016
Dallas, TX 75266-0545
Number Street City State Zip Code As of the date you file, the claim is: Check all that apply
Who incurred the debt? Check one.
BF pebtor 4 only 0 Contingent
CZ Debtor 2 onty Ci unliquidated
O Debtor 4 and Debtor 2 only D pisputed
CO At least one of the debtors and another Type of NONPRIORITY unsecured claim:
C1 Check if this claim is for a community D Student loans
debt O obligations arising out of a separation agreement or divorce that you did not
Is the claim subject to offset? report as priority claims
Hi No O Debts to pension or profit-sharing plans, and other similar debts
D yes WF other. ity Credit card purchases

ot Specify

44

5 CARENow Last 4 digits of account number 9949 - $260.00
Nonpriority Creditor's Name
P.O. Box 743752 When was the debt incurred? 07/18/2017
Atlanta, GA 30374-3752
Number Street City State Zip Code As of the date you file, the claim is: Check all that apply
Who incurred the debt? Check one.
B® pebtor 4 only Oo Contingent
O debtor 2 only Oo Unliquidated
0 Debtor 1 and Debtor 2 only D bisputea
D Atleast one of the debtors and another Type of NONPRIORITY unsecured claim:
CI Check if this claim is fora community D1 student loans
debt Oo Obligations arising out of a separation agreement or divorce that you did not
Is the claim subject to offset? report as priority claims
Hi No 0 Debts to pension or profit-sharing plans, and other similar debts
D Yes WH other. Specify Medical Debt

Official Form 106 E/F Schedule E/F: Creditors Who Have Unsecured Claims Page 7 of 23

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A CARENow
Nonpriority Creditor's Name
P.O. Box 743752

Atlanta, GA 30374-3752
Number Street City State Zip Code

Who incurred the debt? Check one.

 

 

IB bebtor 4 only

CD Debtor 2 only

D pebtor 1 and Debtor 2 only

CO Atleast one of the debtors and another

DO Check if this claim is fora community
debt

Is the claim subject to offset?

Hl No
0 Yes

 

Last 4 digits of accountnumber 8144 $50.00

When was the debt incurred? 03/11/2019

 

As of the date you file, the claim is: Check all that apply

O Contingent
D unliquidated

D0 Disputed
Type of NONPRIORITY unsecured claim:

CO Student loans

O Obligations arising out of a separation agreement or divorce that you did not
report as priority claims

CO pDebts to pension or profit-sharing plans, and other similar debts

i other. Specify Medical Debt

 

 

 

 

 

7 Citi Bank
Nonpriority Creditor's Name
P.O Box 6500

Sioux Falls, SD 57117
Number Street City State Zip Code

Who incurred the debt? Check one.

 

 

I bebtor 1 only

D1 Debtor 2 only

D Debtor 1 and Debtor 2 only

CD Atleast one of the debtors and another

C1 Check if this claim is for a community

Last 4 digits of accountnumber 9526 $4,777.24

When was the debt incurred? 2016

 

As of the date you file, the claim Is: Check all that apply

oO Contingent
CZ untiquidated

OC disputed
Type of NONPRIORITY unsecured claim:

D student toans

 

 

 

 

 

 

 

 

 

 

debt QO Obligations arising out of a separation agreement or divorce that you did not
Is the claim subject to offset? report as priority claims
BNno O Debts to pension or profit-sharing plans, and other similar debts
O yes WH other. Specify Credit card purchases

4.1 .

8 Community Ambulance Last 4 digits of accountnumber 0261 $206.80
Nonpriority Creditor's Name
91 Corporate Park Dr. #120 When was the debt incurred? 12/9/16
Henderson, NV 89074 __ -
Number Street City State Zip Code As of the date you file, the claim is: Check all that apply
Who incurred the debt? Check one.
BB pebtor 1 only 0 Contingent
O bebtor 2 only oO Unliquidated
O debtor 4 and Debtor 2 only oD Disputed
CO Atteast one of the debtors and another Type of NONPRIORITY unsecured claim:
CO Check if this claim Is for a community C1 student loans
debt O Obligations arising out of a separation agreement or divorce that you did not
Is the claim subject to offset? report as priority claims
Hino O Debts to pension or profit-sharing plans, and other similar debts
O ves Wi other. Specify Medical Debt

Official Form 106 E/F Schedule E/F: Creditors Who Have Unsecured Claims Page 8 of 23

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4.1 .
9 Community Ambulance Last 4 digits of account number 0262 $173.35
Nonpriority Creditor's Name _
91 Corporate Park Dr. #120 When was the debt incurred? 12/9/16
Henderson, NV 89074
Number Street City State Zip Code As of the date you file, the claim is: Check all that apply
Who incurred the debt? Check one.
I bebtor 1 only D0 Contingent
C1 Debtor 2 only D unliquidated
O Debtor 1 and Debtor 2 only oO Disputed
7 At teast one of the debtors and another Type of NONPRIORITY unsecured claim:
D check if this claim is fora community C1 Student ioans
debt Oo Obligations arising out of a separation agreement or divorce that you did not
Is the claim subject to offset? report as priority claims
B No O Debts to pension or profit-sharing plans, and other similar debts
O ves Wi other. Specify Medical Debt
4.2
0 Desert Parkway Last 4 digits of accountnumber 2ALV $800.00
Nonpriority Creditor's Name
3247 S. Maryland Parkway When was the debt incurred? 12/10/16
Las Vegas,NV89109
Number Street City State Zip Code As of the date you file, the claim is: Check ail that apply
Who incurred the debt? Check one.
WB pebtor 4 only _ OC contingent
O Debtor 2 only 0 Unliquidated
CO bDebtor 1 and Debtor 2 only 0 Disputed
CZ At least one of the debtors and another Type of NONPRIORITY unsecured claim:
O check if this claim Is fora community Cl Student loans
debt D Obligations arising out of a separation agreement or divorce that you did not
Is the claim subject to offset? report as priority claims
Hino DZ Debts to pension or profit-sharing plans, and other similar debts
oO Yes | | Other. Specify Medical Debt
4.2 .
4 Discover Bank - Cs Last 4 digits of account number 6569 $3,277.47
“Nonpriority Creditors Name
P.O. Box 51908 When was the debt incurred? 2016
Los Angeles, CA 90051-6208
Number Street City State Zip Code As of the date you file, the claim is: Check all that apply
Who incurred the debt? Check one.
BF Debtor 1 only D1 contingent
DO bDebtor 2 only Oo Unliquidated
D debtor 4 and Debtor 2 only oO Disputed
C1 At least one of the debtors and another Type of NONPRIORITY unsecured claim:
C1 Check if this claim is fora community C1 student loans
debt O Obligations arising out of a separation agreement or divorce that you did not
Is the claim subject to offset? report as priority claims
Hino O Debts to pension or profit-sharing plans, and other similar debts
Credit card purchases - Judgment in
0 ves B other. Specify Justice Court ee
Official Form 106 E/F Schedule E/F: Creditors Who Have Unsecured Claims Page 9 of 23

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Debtor1 Jason Peter Kerrigan

 

 

 

 

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4.2 . .
2 Donna Wilburn | _ Last 4 digits of accountnumber Kerrigan $3,025.00
Nonpriority Creditors Name
1445 Duet Ct When was the debt incurred? 2016
Las Vegas, NV 89119
Number Street City State Zip Code As of the date you file, the claim fs: Check all that apply
Who incurred the debt? Check one.
Debtor 1 only D Contingent
D Debtor 2 only 0 Untiquidated
DC Debtor 14 and Debtor 2 only O Disputed
CO At teast one of the debtors and another Type of NONPRIORITY unsecured claim:
DC check if this claim is fora community D) student loans
debt oO Obligations arising out of a separation agreement or divorce that you did not
Is the claim subject to offset? report as priority claims
Bi no CO Debts to pension or profit-sharing plans, and other similar debts
0 Yes MM other. Specify Court Appointed Childrens Therapist
4.2
3 Emmanuel Nwapa MD Last 4 digits of account number 5146 $109.20
Nonpriority Creditor's Name
5440 W. Sahara Avenue, Suite 202 When was the debt incurred? 12/09/2016 _ _
Las Vegas, NV 89117 a
Number Street City State Zip Code As of the date you file, the claim is: Check all that apply
Who Incurred the debt? Check one.
& bebdtor 1 only 0 Contingent
CO Debtor 2 only CO unliquidated
CD Debtor 4 and Debtor 2 only C1 pisputed
C1 atleast one of the debtors and another Type of NONPRIORITY unsecured claim:
C1 Check if this claim is fora community C1 Student ioans
debt Oo Obligations arising out of a separation agreement or divorce that you did not
Is the claim subject to offset? report as priority claims
Hino O Debts to pension or profit-sharing plans, and other similar debts
OC yes H other. Specify Medical Debt
4.2
4 Home Depot Last 4 digits of account number 6256 $10,925.01
Nonpriority Creditor's Name
P.O. Box 790328 When was the debt incurred? 2018

St. Louis, MO 63179

 

Number Street City State Zip Code
Who incurred the debt? Check one.

Mi Debtor 1 only

DZ Debtor 2 only

DC Debtor 1 and Debtor 2 only

DO Atteast one of the debtors and another

CO check if this claim is for a community
debt

Is the claim subject to offset?
Hino
OC yes

 

As of the date you file, the claim is: Check all that apply

O Contingent
0D Unliquidated

O bisputed
Type of NONPRIORITY unsecured claim:

O student loans

oO Obligations arising out of a separation agreement or divorce that you did not
report as priority claims

DO Debts to pension or profit-sharing plans, and other similar debts

HH other. Specify Credit card purchases

 

 

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4.2 .
5 James Kerrigan Last 4 digits of account number None $104,250.00
Nonpriority Creditor's Name
5568 Moncina Street When was the debt incurred? 2015 - 2017
Las Vegas, NV 89118
Number Street City State Zip Code As of the date you file, the claim is: Check all that apply
Who incurred the debt? Check one.
8 debtor 1 only oO Contingent
D1 Debtor 2 only D Unliquidated
O] pebtor 4 and Debtor 2 only oO Disputed
C1 At least one of the debtors and another Type of NONPRIORITY unsecured claim:
CO Check if this claim is fora community D1 student loans
debt oO Obligations arising out of a separation agreement or divorce that you did not
{s the claim subject to offset? report as priority claims
no O debts to pension or profit-sharing plans, and other similar debts
O Yes Wi other. Specify Personal Loan
4.2 :
6 Kandice Poole Last 4 digits of account number Poole $3,000.00
Nonpriority Creditor's Name
248 Hillcrest Drive When was the debt incurred? 2016
Henderson, NV 89015
Number Street City State Zip Code As of the date you file, the claim is: Check all that apply
Who incurred the debt? Check one.
BB pebtor 1 only oO Contingent
Ci Debtor 2 only 0D Unliquidated
CD bDebtor 1 and Debtor 2 only D Disputed
CD At least one of the debtors and another Type of NONPRIORITY unsecured clalm:
C Check if this claim is for a community C1 student loans
debt oO Obligations arising out of a separation agreement or divorce that you did not
Is the claim subject to offset? report as priority claims
Bno C1 debts to pension or profit-sharing plans, and other similar debts
0 Yes @ other. specify Personal Loan
4.2
7 Larry Bachove Last 4 digits of account number None $2,000.00
Nonpriority Creditor's Name
43 S. Pompano Pkway, Suite 355 When was the debtincurred? = 2016

Pompano Beach, FL 33069

 

Number Street City State Zip Code
Who incurred the debt? Check one.

BB bebtor 1 only

C1 Debtor 2 only

CO Debtor 1 and Debtor 2 only

CO Atleast one of the debtors and another

U1 check if this claim is for a community
debt

Is the claim subject to offset?
Hino
OD Yes

 

As of the date you file, the claim is: Check all that apply

Oo Contingent
D unliquidated

DO Disputed
Type of NONPRIORITY unsecured claim:

C1 student loans

O Obligations arising out of a separation agreement or divorce that you did not
report as priority claims

CD Debts to pension or profit-sharing plans, and other similar debts

@ other. Specify Personal Loan

 

 

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4.2 . cage
8 Lisa Williams Last 4 digits of account number None $12,400.00
Nonpriority Creditor's Name
2200 S. Ft. Apache Rd. Unite 1214 When was the debt incurred? 2016 - 2017
Las Vegas, NV 89117
Number Street City State Zip Code As of the date you file, the claim Is: Check all that apply
Who incurred the debt? Check one.
i bebtor 1 only 0 Contingent
D pebtor 2 only oO Unliquidated
CO Debtor 1 and Debtor 2 only 0 Disputed
C1 At least one of the debtors and another Type of NONPRIORITY unsecured claim:
1 check if this claim Is for a community C1 Student loans
debt Ci obligations arising out of a separation agreement or divorce that you did not
Is the claim subject to offset? report as priority claims
HNo O Debts to pension or profit-sharing plans, and other similar debts
0 Yes @ other. Specify Personal Loan
4.2 . .
9 Old Republic Home Protection Last 4 digits of accountnumber 6149 $100.00
Nonpriority Creditor's Name
Two Annabel Lane #112 When was the debt incurred? 2018
San Ramon, CA 94583
Number Street City State Zip Code As of the date you file, the claim is: Check ail that apply
Who incurred the debt? Check one.
I bebtor 4 only Oo Contingent
0 Debtor 2 only Oo Unliquidated
0 bDebtor 4 and Debtor 2 only 0 Disputed
Atleast one of the debtors and another Type of NONPRIORITY unsecured claim:
CO Check if this claim is for a. community C) student loans
debt 0 Obligations arising out of a separation agreement or divorce that you did not
Is the claim subject to offset? report as priority claims
No OC detts to pension or profit-sharing plans, and other similar debts
1 Yes M other. Speciy Home Warranty Co-Pay
4.3 .
0 Pecole Family Dental Last 4 digits of accountnumber E001 _ $139.86
Nonpriority Creditor's Name
7720 W. Sahara Ave. #110 When was the debt incurred? 2016

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Las Vegas, NV 89117

 

Number Street City State Zip Code
Who incurred the debt? Check one.

a Debtor 1 only

D1 bDebtor 2 only

CO Debtor 1 and Debtor 2 only

DO Atleast one of the debtors and another

O Check if this claim is fora community
debt

Is the claim subject to offset?

B no
D yes

 

As of the date you file, the claim is: Check all that apply

oO Contingent
D Unliquidated

D Disputed
Type of NONPRIORITY unsecured claim:
CO student loans

0 Obligations arising out of a separation agreement or divorce that you did not
report as priority claims

O debts to pension or profit-sharing plans, and other similar debts

I other. Specify Medical Debt

 

 

Schedule E/F: Creditors Who Have Unsecured Claims

 

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1 Pediatrix Medical Group Last 4 digits of accountnumber 7408 $108.25
Nonpriority Creditor's Name
657 N. Town Center Drive When was the debt incurred? 12/09/2016
_Las Vegas, NV 89144 ___
Number Street City State Zip Code As of the date you file, the claim is: Check all that apply
Who incurred the debt? Check one.
W pebtor 1 only Oo Contingent
0 pDebtor 2 only oO Unliquidated
D Debtor 1 and Debtor 2 only 0 Disputed
C1 At teast one of the debtors and another Type of NONPRIORITY unsecured claim:
CO check if this claim is for a community CO) student loans
debt 0D Obligations arising out of a separation agreement or divorce that you did not
Is the claim subject to offset? report as priority claims
Bno O debts to pension or profit-sharing plans, and other similar debts
Cl ves MI other. Specify Medical Debt
4.3 ge .
2 Pediatrix Medical Group Last 4 digits of account number 7408 $1,233.02
Nonpriority Creditors Name _
657 N. Town Center Drive When was the debt incurred? 12/09/2016
Las Vegas, NV 89144
Number Street City State Zip Code As of the date you file, the claim is: Check all that apply
Who incurred the debt? Check one.
a Debtor 1 only oO Contingent
D Debtor 2 only | Unliquidated
D Debtor 1 and Debtor 2 only D Disputed
CO Atteast one of the debtors and another Type of NONPRIORITY unsecured clalm:
DO check if this claim is for a community C1 Student loans
debt CZ Obligations arising out of a separation agreement or divorce that you did not
Is the claim subject to offset? report as priority claims
Hino CO Debts to pension or profit-sharing plans, and other similar debts
O Yes IB other. Specify Medical Debt
43 .
3 ProCare Medical Center Last 4 digits of account number 2496 $186.78
Nonpriority Creditors Name
6870 S. Rainbow Bivd., Suite 106 When was the debt incurred? §/10/2017

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Las Vegas, NV 89118-2107

 

Number Street City State Zip Code
Who incurred the debt? Check one.

W bebtor 1 only

C1 Debtor 2 only

CO Debtor 1 and Debtor 2 only

CF) At least one of the debtors and another

O Check if this claim is fora community
debt

Is the claim subject to offset?
BM no
0 Yes

 

As of the date you file, the claim is: Check ail that apply

O Contingent

CO unliquidated

oO Disputed

Type of NONPRIORITY unsecured claim:
CO student loans

oO Obligations arising out of a separation agreement or divorce that you did not
report as priority claims

C1 Debts to pension or profit-sharing plans, and other similar debts

HH other. Specify Medical Debt

 

 

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43 Shadow Emergency Physicians
4 PLLC Last 4 digits of account number 0835 $91.31
Nonpriority Creditor's Name
620 Shadow Lane When was the debt incurred? 2016
Las Vegas, NV 89106
Number Street City State Zip Code As of the date you file, the claim is: Check all that apply
Who incurred the debt? Check one.
8 Debtor 1 only Oo Contingent
D Debtor 2 only oO Unliquidated
CO Debtor 1 and Debtor 2 only Oo Disputed
D Atleast one of the debtors and another Type of NONPRIORITY unsecured claim:
C] check if this claim is for a. community D Student toans
debt Oo Obligations arising out of a separation agreement or divorce that you did not
Is the claim subject to offset? report as priority claims
a D debts to pension or profit-sharing plans, and other similar debts
No
0 ves WB other. specify Medical Debt
43 . .
5 Spring Mountain Treatment Center Last 4 digits of account number 0010 $821.47
Nonpriority Creditor's Name
7000 West Spring Mountain Road When was the debt incurred? 12/09/2016
Las Vegas, NV 89117-3816
Number Street City State Zip Code As of the date you file, the claim is: Check all that apply
Who Incurred the debt? Check one.
BI pebtor 1 only Oo Contingent
O Debtor 2 only Oo Unliquidated
O debtor 4 and Debtor 2 only Oo Disputed
CO tteast one of the debtors and another Type of NONPRIORITY unsecured claim:
O Check if this claim is for a community D student loans
debt Oo Obligations arising out of a separation agreement or divorce that you did not
Is the claim subject to offset? report as priority claims
no 0 pDetts to pension or profit-sharing plans, and other similar debts
O ves Hl other. Specify Medical Debt
43 . :
6 Summerlin Hospital Last 4 digits of accountnumber 1104 $2,309.90
Nonpriority Creditor’s Name
8801 W. Sahara Ave. When was the debt incurred? 11/30/2015

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Las Vegas, NV 89117
Number Street City State Zip Code

Who incurred the debt? Check one.

BB bebtor 1 only

C1 Debtor 2 only

O Debtor 1 and Debtor 2 only

D Atieast one of the debtors and another

DO check if this claim is for a community
debt

Is the claim subject to offset?
Bno
0 yes

 

As of the date you file, the claim is: Check all that apply

i) Contingent
CD Untiquidated

D Disputed
Type of NONPRIORITY unsecured claim:
O Student toans

Oo Obligations arising out of a separation agreement or divorce that you did not
report as priority claims

0 pebts to pension or profit-sharing plans, and other similar debts

WH other. Specify Medical Debt

 

Schedule E/F: Creditors Who Have Unsecured Claims

 

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~ Summerlin Hospital

Nonpriority Creditor's Name
8801 W. Sahara Ave.

Las Vegas, NV 89117
Number Street City State Zip Code

Who Incurred the debt? Check one.

 

 

 

 

IB bebtor 1 only

D1 Debtor 2 only

CD Debtor 1 and Debtor 2 only

D Atleast one of the debtors and another

D Check if this claim is for a community
debt

Is the claim subject to offset?

Hl No
0 yes

 

Last 4 digits of account number 7259 $250.00

When was the debt incurred? 12/18/2016

 

As of the date you file, the claim is: Check all that apply

( contingent
C3 untiquidated

GB Disputed
Type of NONPRIORITY unsecured claim:

OD student loans

D Obligations arising out of a separation agreement or divorce that you did not
report as priority claims

D bebts to pension or profit-sharing plans, and other similar debts

Mi other. Specify Medical Debt

 

 

43 Sunrise Children's Hospital/NPAS
8 Inc.
Nonpriority Creditor's Name

3186 S. Maryland Parkway

Las Vegas, NV 89109
Number Street City State Zip Code

Who incurred the debt? Check one.

 

 

 

 

a Debtor 1 only

CO debtor 2 only

C1 Debtor 1 and Debtor 2 only

C1 at least one of the debtors and another

O1 Check if this claim is for a community
debt

Is the claim subject to offset?

a No
D yes

Last 4 digits of accountnumber 5819 oe $1,628.00

When was the debt incurred? 12/16/16

 

As of the date you file, the claim is: Check all that apply

CO contingent
0 untiquidated

Oo Disputed
Type of NONPRIORITY unsecured claim:
CO student loans

oO Obligations arising out of a separation agreement or divorce that you did not
report as priority claims

CO Debts to pension or profit-sharing plans, and other similar debts

M other. Specify Medical Debt

 

 

43 Sunrise Children's Hospital/NPAS
9 Inc.

Nonpriority Creditor's Name

3186 S. Maryland Parkway

Las Vegas, NV 89109

Number Street City State Zip Code

Who incurred the debt? Check one.

 

 

 

 

 

a Debtor 1 only

D Debtor 2 only

O Debtor 4 and Debtor 2 only

C1 Atleast one of the debtors and another

DO Check if this claim ts for a community

Last 4 digits of accountnumber 2989 $500.00

When was the debt incurred? 12/16/16

 

As of the date you file, the claim is: Check all that apply

O Contingent
Oo Unliquidated

0 Disputed
Type of NONPRIORITY unsecured claim:
OC student loans

 

 

debt oO Obligations arising out of a separation agreement or divorce that you did not
Is the claim subject to offset? report as priority claims
Bno O debts to pension or profit-sharing plans, and other similar debts
oO Yes a Other. Specify Medical Debt _
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4.4 Sunrise Childrens Hospital/NPAS
0 Inc. Last 4 digits of account number 5103 $250.00
Nonpriority Creditor's Name
3186 S. Maryland Parkway When was the debt incurred? 12/09/16
Las Vegas, NV 89109
Number Street City State Zip Code As of the date you file, the claim is: Check all that apply
Who incurred the debt? Check one.
 bebtor 4 only BD Contingent
D bebtor 2 only O Unliquidated
LD Debtor 1 and Debtor 2 only 0 Disputed
C1 Atleast one of the debtors and another Type of NONPRIORITY unsecured claim:
D1 check if this claim is for a community C1 student loans
debt (C2 obtigations arising out of a separation agreement or divorce that you did not
Is the claim subject to offset? report as priority claims
Hino D debts to pension or profit-sharing plans, and other similar debts
QO Yes | Other. Specify Medical Debt
4.4 Sunrise Childrens Hospital/NPAS
1 Inc. Last 4 digits of account number 5139 $250.00
Nonpriority Creditor's Name
3186 S. Maryland Parkway When was the debt incurred? 12/09/16
Las Vegas, NV 89109
Number Street City State Zip Code As of the date you file, the claim is: Check all that apply
Who incurred the debt? Check one.
& pebtor 4 only oO Contingent
O Debtor 2 only oO Unliquidated
CO Debtor 1 and Debtor 2 only O Disputed
CO Atteast one of the debtors and another Type of NONPRIORITY unsecured claim:
D Check if this claim is fora community C1 student toans
debt O Obligations arising out of a separation agreement or divorce that you did not
Is the claim subject to offset? report as priority claims
Hino C1 Debts to pension or profit-sharing plans, and other similar debts
O Yes MH other. Specity Medical Debt
4.4
2 Ted Leach Last 4 digits of accountnumber None = $32,000.00
Nonpriority Creditors Name 7 -
1131 Kahaapo Loop When was the debt incurred? 2016

Kihei, HI 96753

 

Number Street City State Zip Code
Who incurred the debt? Check one.

i bebtor 1 only

2 Debtor 2 only

[3 Debtor 1 and Debtor 2 only

DO Atleast one of the debtors and another

D check if this claim is fora community
debt

Is the claim subject to offset?

Hino
0 Yes

 

As of the date you file, the claim is: Check all that apply

oO Contingent
D unliquidated

0 Disputed
Type of NONPRIORITY unsecured claim:

C1 student toans

oO Obligations arising out of a separation agreement or divorce that you did not
report as priority claims

D1 Debts to pension or profit-sharing plans, and other similar debts

HH other. Specify Personal Loan

 

 

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4.4 Velocity Investments, LLC,
3 Assignee of

Nonpriority Creditor's Name

 

 

 

Prosper Funding LLC, Assignee of

WebBank

1800 Route 34 N, Suite 404A

Belmar, NJ 07719-9147
Number Street City State Zip Code

Who incurred the debt? Check one.

BB pebtor 1 only
OC Debtor 2 only
D Debtor 4 and Debtor 2 only

C1 Atleast one of the debtors and another
O Check if this claim is for a. community

debt
Is the claim subject to offset?

Hi No
DO ves

Case number (if known)

 

Last 4 digits of account number 0771 $10,485.28

When was the debt incurred? 2016

 

As of the date you file, the claim is: Check all that apply

D contingent
D unliquidated

Oo Disputed
Type of NONPRIORITY unsecured claim:

CO student loans

| Obligations arising out of a separation agreement or divorce that you did not
teport as priority claims

CO Debts to pension or profit-sharing plans, and other similar debts

Mi other. Specify Loan - Case In Justice Court (18C004496)

 

 

 

List Others to Be Notified About a Debt That You Already Listed

§. Use this page only if you have others to be notified about your bankruptcy, for a debt that you already listed in Parts 1 or 2. For example, if a collection agency
is trying to collect from you for a debt you owe to someone else, list the original creditor in Parts 1 or 2, then list the collection agency here. Similarly, if you
have more than one creditor for any of the debts that you listed in Parts 1 or 2, list the additional creditors here. If you do not have additional persons to be
notified for any debts in Parts 1 or 2, do not fill out or submit this page.

Name and Address

Aargon Collection Agency
8668 Spring Mountain Road
Las Vegas, NV 89117-4113

Name and Address

American Coradius International
LLC

24220 Sweet Home Road, Ste 150
Buffalo, NY 14228-2244

On which entry in Part 1 or Part 2 did you list the original creditor?

Line 4.37 of (Check one): 0 Part 4: Creditors with Priority Unsecured Claims
WB part 2: Creditors with Nonpriority Unsecured Claims
Last 4 digits of account number 0462

 

On which entry in Part 1 or Part 2 did you list the original creditor?

Line 4.14 of (Check one): C1 Part 1: Creditors with Priority Unsecured Claims
§ part 2: Creditors with Nonpriority Unsecured Claims
Last 4 digits of account number 5637

 

Name and Address

AssetRecovery Solutions, LLC
2200 E. Devon Ave., Suite 200
Des Plaines, IL 60018-4501

On which entry in Part 1 or Part 2 did you list the original creditor?

Line 4.43 of (Check one): O Part 1: Creditors with Priority Unsecured Claims
WF part 2: Creditors with Nonpriority Unsecured Claims
Last 4 digits of account number 7040

 

Name and Address

Capio Partners, LLC

2222 Texoma Parkway, Suite 150
Sherman, TX 75090

On which entry in Part 1 or Part 2 did you list the original creditor?

Line 4.40 of (Check one): OD Part 1: Creditors with Priority Unsecured Claims
WB part 2: Creditors with Nonpriority Unsecured Claims
Last 4 digits of account number 6730

 

Name and Address
Capio Partners, LLC
2222 Texoma Parkway, Suite 150
Sherman, TX 75090

On which entry in Part 1 or Part 2 did you list the original creditor?
Line 4.41 of (Check one): C1 Part 1: Creditors with Priority Unsecured Claims

WF part 2: Creditors with Nonpriority Unsecured Claims

 

Last 4 digits of account number 5236

 

 

Name and Address

Capio Partners, LLC

2222 Texoma Parkway, Suite 150
Sherman, TX 75090

Name and Address
Capital Management Services, LP
698 1/2 South Ogden Street

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On which entry in Part 1 or Part 2 did you list the original creditor?

Line 4.39 of (Check one): DC Part 1: Creditors with Priority Unsecured Claims
WB part 2: Creditors with Nonpriority Unsecured Claims
Last 4 digits of account number 2989

On which entry in Part 1 or Part 2 did you list the original creditor?
Line 4.11 of (Check one): D1 Part 1: Creditors with Priority Unsecured Claims

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Debtor1 Jason Peter Kerrigan _ Case number (if known) 7
Buffalo, NY 14206-2317 part 2: Creditors with Nonpriority Unsecured Claims
Last 4 digits of account number 7407
Name and Address On which entry in Part 1 or Part 2 did you list the original creditor?
Capital Management Services, LP Line 4.12 of (Check one): C1 Part 4: Creditors with Priority Unsecured Claims

698 1/2 South Ogden Street

a Part 2: Creditors with Nonpriority Unsecured Claims
Buffalo, NY 14206-2317

 

Last 4 digits of account number 3904
Name and Address On which entry in Part 1 or Part 2 did you list the original creditor?
Citi Line 4.24 of (Check one): CO Part 1: Creditors with Priority Unsecured Claims

P.O. Box 790040

. BB Part 2: Creditors with Nonpriority Unsecured Claims
St. Louis, MO 63179-9819

 

Last 4 digits of account number 6256
Name and Address On which entry in Part 1 or Part 2 did you list the original creditor?
Citi Card Line 4.17 of (Check one): O Part 1: Creditors with Priority Unsecured Claims

P.O. Box 78045

. W part 2: Creditors with Nonpriority Unsecured Claims
Phoenix, AZ 85062

Last 4 digits of account number

 

Name and Address On which entry in Part 1 or Part 2 did you list the original creditor?
Client Services Line 4.17 of (Check one): DC Part 1: Creditors with Priority Unsecured Claims
P.O. Box 1503

- WH Part 2: Creditors with Nonpriority Unsecured Claims
Saint Peters, MO 63376

 

Last 4 digits of account number 0974
Name and Address On which entry in Part 1 or Part 2 did you list the original creditor?
Credence Resource Management Line 4.7 of (Check one): C1 Part 1: Creditors with Priority Unsecured Claims

LLC
17000 Dallas Parkway, Suite 204
Dallas, TX 75248

WH part 2: Creditors with Nonpriority Unsecured Claims

 

 

Last 4 digits of account number 9932
Name and Address On which entry in Part 1 or Part 2 did you list the original creditor?
Credence Resource Management Line 4.7 of (Check one): CO Part 1: Creditors with Priority Unsecured Claims

LLC
P.O. Box 2420
Southgate, Ml 48195-4420

IB part 2: Creditors with Nonpriority Unsecured Claims

 

Last 4 digits of account number 9932
Name and Address On which entry in Part 1 or Part 2 did you list the original creditor?
Credence Resource Management Line 4.8 of (Check one): C1 Part 1: Creditors with Priority Unsecured Claims

LLC
17000 Dallas Parkway, Suite 204
Dallas, TX 75248

WS part 2: Creditors with Nonpriority Unsecured Claims

 

Last 4 digits of account number 9932
Name and Address On which entry in Part 1 or Part 2 did you list the original creditor?
Credence Resource Management Line 4.8 of (Check one): ( Part 1: Creditors with Priority Unsecured Claims

LLC
P.O. Box 2420
Southgate, MI 48195-4420

WH part 2: Creditors with Nonpriority Unsecured Claims

 

Last 4 digits of account number 9932
Name and Address On which entry in Part 1 or Part 2 did you list the original creditor?
Distressed Asset Portfolio Ill LLC Line 4.17 of (Check one): C1 Part 1: Creditors with Priority Unsecured Claims

10625 Techwoods Circle

WB part 2: Creditors with Nonpriority Unsecured Claims
Cincinnati, OH 45242

Last 4 digits of account number

Name and Address On which entry in Part 1 or Part 2 did you list the original creditor?

ERC Line 4.11 of (Check one): CI part 1: Creditors with Priority Unsecured Claims
P.O. Box 23870

Jacksonville, FL 32241-3870

 

WB part 2: Creditors with Nonpriority Unsecured Claims

 

Last 4 digits of account number 1453
Name and Address On which entry in Part 1 or Part 2 did you list the original creditor?
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Case 19-16818-abl

Debtor1 Jason Peter Kerrigan

 

ERC
P.O. Box 23870
Jacksonville, FL 32241-3870

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Case number (if known)

 

Line 4.12 of (Check one): C1 Part 1: Creditors with Priority Unsecured Claims
WF part 2: Creditors with Nonpriority Unsecured Claims

Last 4 digits of account number 0866

 

Name and Address

Faber and Brand L.L.C.
P.O. Box 10110

Columbia, MO 65205-4000

On which entry in Part 1 or Part 2 did you list the original creditor?

Line 4.43 of (Check one): 0 part 1: Creditors with Priority Unsecured Claims
part 2: Creditors with Nonpriority Unsecured Claims
Last 4 digits of account number 0446

 

Name and Address

Financial Corporation Of America
12515 Research Blvd, Bldg 2, Suite
100

Austin, TX 78759

On which entry in Part 1 or Part 2 did you list the original creditor?

Line 4.36 of (Check one): C1 Part 1: Creditors with Priority Unsecured Claims
WM part 2: Creditors with Nonpriority Unsecured Claims

Last 4 digits of account number ONV1

 

Name and Address
Financial Corporation of America
P.O. Box 203500

Austin, TX 78720-3500

Name and Address

Financial Corporation of America
P.O. Box 203500

Austin, TX 78720-3500

On which entry in Part 1 or Part 2 did you list the original creditor?

Line 4.36 of (Check one): CO Part 1: Creditors with Priority Unsecured Claims
WM part 2: Creditors with Nonpriority Unsecured Claims
Last 4 digits of account number ONV1

On which entry in Part 1 or Part 2 did you list the original creditor?

Line 4.38 of (Check one): CO Part 1: Creditors with Priority Unsecured Claims
WH part 2: Creditors with Nonpriority Unsecured Claims
Last 4 digits of account number 4NV1

 

Name and Address
Financial Corporation Of America
12515 Research Blvd, Bldg 2, Suite
100

Austin, TX 78759

 

Name and Address

Financial Corporation of America
P.O. Box 203500

Austin, TX 78720-3500

On which entry in Part 7 or Part 2 did you list the original creditor?

On which entry in Part 1 or Part 2 did you list the original creditor?

Line 4.38 of (Check one): OD Part 1: Creditors with Priority Unsecured Claims
WW part 2: Creditors with Nonpriority Unsecured Claims
Last 4 digits of account number 4nv1

 

Line 4.40 of (Check one): DC Part 1: Creditors with Priority Unsecured Claims
BB part 2: Creditors with Nonpriority Unsecured Ciaims
Last 4 digits of account number 8NV1

 

Name and Address
Financial Corporation Of America
12515 Research Blvd, Bldg 2, Suite
100

Austin, TX 78759

On which entry in Part 1 or Part 2 did you list the original creditor?

Line 4.40 of (Check one): (C Part 1: Creditors with Priority Unsecured Claims
Wi part 2: Creditors with Nonpriority Unsecured Claims
Last 4 digits of account number 8NV1

 

Name and Address

Financial Corporation Of America
12515 Research Blvd, Bldg 2, Suite
100

Austin, TX 78759

 

Name and Address

Financial Corporation of America
P.O. Box 203500

Austin, TX 78720-3500

On which entry in Part 1 or Part 2 did you list the original creditor?
Line 4.41 of (Check one): C1 Part 1: Creditors with Priority Unsecured Claims

I part 2: Creditors with Nonpriority Unsecured Claims

Last 4 digits of account number 5NV1

On which entry in Part 1 or Part 2 did you list the original creditor?
Line 4.41 of (Check one): CD Part 1: Creditors with Priority Unsecured Claims

WF part 2: Creditors with Nonpriority Unsecured Claims

 

Last 4 digits of account number 6NV1

 

Name and Address

First Source Advantage, LLC
205 Bryant Woods South
Buffalo, NY 14228

Official Form 106 E/F

Schedule E/F: Creditors Who Have Unsecured Claims
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On which entry in Part 1 or Part 2 did you list the original creditor?
Line 4.3 of (Check one): OD Part 1: Creditors with Priority Unsecured Claims

WF part 2: Creditors with Nonpriority Unsecured Claims
Last 4 digits of account number

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Debtor 1 Jason Peter Kerrigan

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Case number (if known)

 

 

6502

 

Name and Address

First Source Advantage, LLC
P.O. Box 628

Buffalo, NY 14240-0628

 

Name and Address

GC Services Limited Partnership
6330 Gulfton

Houston, TX 77081

On which entry in Part 1 or Part 2 did you list the original creditor?

Line 4.3 of (Check one): CO Part 4: Creditors with Priority Unsecured Claims
i part 2: Creditors with Nonpriority Unsecured Claims
Last 4 digits of account number 6502

On which entry in Part 1 or Part 2 did you list the original creditor?

Line 4.3 of (Check one): C1 Part 4: Creditors with Priority Unsecured Claims
8 part 2: Creditors with Nonpriority Unsecured Claims

Last 4 digits of account number 0016

 

Name and Address

GC Services Limited Partnership
clo DEPT HOVS 052

P.O. Box 3044

Livonia, Ml 48151-3044

On which entry in Part 1 or Part 2 did you list the original creditor?

Line 4.5 of (Check one): OC Part 1: Creditors with Priority Unsecured Claims
Wi part 2: Creditors with Nonpriority Unsecured Claims
Last 4 digits of account number 5613

 

Name and Address

GC Services Limited Partnership
P.O. Box 3855

Houston, TX 77253

On which entry in Part 1 or Part 2 did you list the original creditor?

Line 4.17 of (Check one): CO Part 1: Creditors with Priority Unsecured Claims
WF part 2: Creditors with Nonpriority Unsecured Claims
Last 4 digits of account number 5851

 

Name and Address

Grant & Weber, Inc.

5586 S. Fort Apache Road, Suite 110
Las Vegas, NV 89148

On which entry in Part 1 or Part 2 did you list the original creditor?

Line 4.35 of (Check one): D Part 1: Creditors with Priority Unsecured Claims
© part 2: Creditors with Nonpriority Unsecured Claims
Last 4 digits of account number 6562

 

Name and Address

Guglielmo & Associates

415 S. Sixth Street Suite 200K
Las Vegas, NV 89101

On which entry in Part 1 or Part 2 did you list the original creditor?
Line 4.21 of (Check one): CO Part 1: Creditors with Priority Unsecured Claims

WB part 2: Creditors with Nonpriority Unsecured Claims
Last 4 digits of account number 6569

 

Name and Address

1.C. System

P.O. Box 64437

Saint Paul, MN 55164-0437

Name and Address

1.C. System

P.O. Box 64437

Saint Paul, MN 55164-0437

On which entry in Part 1 or Part 2 did you list the original creditor?
Line 4.31 of (Check one): O Part 4: Creditors with Priority Unsecured Claims

WF part 2: Creditors with Nonpriority Unsecured Claims

Last 4 digits of account number

On which entry in Part 1 or Part 2 did you list the original creditor?
Line 4.32 of (Check one): CO Part 1: Creditors with Priority Unsecured Claims

I part 2: Creditors with Nonpriority Unsecured Claims

Last 4 digits of account number

 

Name and Address
Internal Revenue Service

|. AGUILAR, MS 5209 LVG 2909
110 N. City Parkway

Las Vegas, NV 89106

On which entry in Part 1 or Part 2 did you list the original creditor?
Line 2.1 of (Check one): WF part 1: Creditors with Priority Unsecured Claims
DO Part 2: Creditors with Nonpriority Unsecured Claims

Last 4 digits of account number

 

Name and Address

Internal Revenue Service

|. AGUILAR, MS 5209 LVG 2909
110 N. City Parkway

Las Vegas, NV 89106

 

Name and Address
Internal Revenue Service
]. AGUILAR, MS 5209 LVG 2909

Official Form 106 E/F

Schedule E/F: Creditors Who Have Unsecured Claims
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On which entry in Part 1 or Part 2 did you list the original creditor?
Line 2.2 of (Check one): W part 1: Creditors with Priority Unsecured Claims

CO Part 2: Creditors with Nonpriority Unsecured Claims

Last 4 digits of account number

On which entry in Part 1 or Part 2 did you list the original creditor?
Line 2.3 of (Check one): i part 1: Creditors with Priority Unsecured Claims
CO Part 2: Creditors with Nonpriority Unsecured Claims

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Debtor! Jason Peter Kerrigan

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Case number (if known)

 

110 N. City Parkway
Las Vegas, NV 89106

 

Name and Address

Internal Revenue Service

|. AGUILAR, MS 5209 LVG 2909
110 N. City Parkway

Las Vegas, NV 89106

 

Name and Address
Johnathan Shoener, Esq.
P.O. Box 10110
Columbia, MO 65205

Last 4 digits of account number

 

On which entry in Part 1 or Part 2 did you list the original creditor?
Line 2.4 of (Check one): IB part 1: Creditors with Priority Unsecured Claims
OC Part 2: Creditors with Nonpriority Unsecured Claims

Last 4 digits of account number

 

On which entry in Part 1 or Part 2 did you list the original creditor?
Line 4.43 of (Check one): CO Part 1: Creditors with Priority Unsecured Claims

WH part 2: Creditors with Nonpriority Unsecured Claims
4496

Last 4 digits of account number

 

Name and Address
Lippman Recupero
P.O. Box 13928
Tucson, AZ 85732-3928

 

On which entry in Part 1 or Part 2 did you list the original creditor?
Line 4.17 of (Check one): C1 part 1: Creditors with Priority Unsecured Claims

Mi part 2: Creditors with Nonpriority Unsecured Claims
0017

Last 4 digits of account number

 

Name and Address

Medical Revenue Service
P.O. Box 1149

Sebring, FL 33871

 

On which entry in Part 1 or Part 2 did you list the original creditor?
Line 4.36 of (Check one): 0 Part 1: Creditors with Priority Unsecured Claims

WF part 2: Creditors with Nonpriority Unsecured Claims

Last 4 digits of account number

 

Name and Address

MediCredit, Inc.

P.O. Box 1629

Maryland Heights, MO 63043-0629

 

Name and Address

Mednax Services, Inc.
1301 Concord Terrace
Fort Lauderdale, FL 33323

Name and Address

Mednax Services, Inc.
1301 Concord Terrace
Fort Lauderdale, FL 33323

On which entry in Part 1 or Part 2 did you list the original creditor?
Line 4.16 of (Check one): OC Part 1: Creditors with Priority Unsecured Claims

a Part 2: Creditors with Nonpriority Unsecured Claims
7475

Last 4 digits of account number

 

On which entry in Part 1 or Part 2 did you list the original creditor?

Line 4.31 of (Check one): CO Part 1: Creditors with Priority Unsecured Claims

i part 2: Creditors with Nonpriority Unsecured Claims
Last 4 digits of account number

On which entry in Part 1 or Part 2 did you list the original creditor?

Line 4.32 of (Check one): C1 Part 1: Creditors with Priority Unsecured Claims

BF part 2: Creditors with Nonpriority Unsecured Claims

Last 4 digits of account number

 

Name and Address

Michael & Associates, PC

1850 E. Flamingo Road, Suite 204
Las Vegas, NV 89119

Name and Address

Midland Credit Management
PO Box 51319

Los Angeles, CA 90051

 

On which entry in Part 1 or Part 2 did you list the original creditor?
Line 4.3 of (Check one): C1 Part 1: Creditors with Priority Unsecured Claims

I Part 2: Creditors with Nonpriority Unsecured Claims
2851

Last 4 digits of account number

On which entry in Part 1 or Part 2 did you list the original creditor?
Line 4.24 of (Check one): C1 Part 1: Creditors with Priority Unsecured Claims

part 2: Creditors with Nonpriority Unsecured Claims
1339

Last 4 digits of account number

 

Name and Address
Midland Funding LLC
P.O. Box 2001
Warren, MI 48090-2001

On which entry in Part 1 or Part 2 did you list the original creditor?
Line 4.24 of (Check one): CD Part 1: Creditors with Priority Unsecured Claims

i part 2: Creditors with Nonpriority Unsecured Claims

Last 4 digits of account number

 

Name and Address

Nationwide Credit, Inc.
P.O. Box 10354

Des Moines, IA 50306-3581

Official Form 106 E/F

On which entry in Part 1 or Part 2 did you list the original creditor?
Line 4.3 of (Check one): OC Part 1: Creditors with Priority Unsecured Claims

part 2: Creditors with Nonpriority Unsecured Claims

Schedule E/F: Creditors Who Have Unsecured Claims

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Debtor 1 Jason Peter Kerrigan Case number (if known)
Last 4 digits of account number 6571
Name and Address On which entry in Part 1 or Part 2 did you list the original creditor?
Nationwide Credit, Inc. Line 4.5 of (Check one): 0 Part 1: Creditors with Priority Unsecured Claims

P.O. Box 14581

‘ WB part 2: Creditors with Nonpriority Unsecured Claims
Des Moines, IA 50306-3581

 

 

Last 4 digits of account number 0101
Name and Address On which entry in Part 1 or Part 2 did you list the original creditor?
Patenaude & Felix, A.P.C. Line 4.3 of (Check one): D Part 1: Creditors with Priority Unsecured Claims
te Murphy Canyon Road, 3rd & part 2: Creditors with Nonpriority Unsecured Claims
oor
San Diego, CA 92123
Last 4 digits of account number 9322
Name and Address On which entry in Part 1 or Part 2 did you list the original creditor?
Portfolio Recovery Associates Line 4.11 of (Check one): C1 Part 1: Creditors with Priority Unsecured Claims

P.O. Box 12914

I Part 2: Creditors with Nonpriority Unsecured Claims
Norfolk, VA 23541-1223

Last 4 digits of account number

 

 

 

Name and Address On which entry in Part 1 or Part 2 did you list the original creditor?
Portfolio Recovery Associates LLC Line 4.11 of (Check one): CO Part 1: Creditors with Priority Unsecured Claims
120 Corporate Boulevard IB part 2: Creditors with Nonpriority Unsecured Claims
Norfolk, VA 23502

Last 4 digits of account number 3047
Name and Address On which entry in Part 1 or Part 2 did you list the original creditor?
Portfolio Recovery Associates LLC Line 4.12 of (Check one): CZ part 1: Creditors with Priority Unsecured Claims

P.O. Box 12914

i part 2: Creditors with Nonpriority Unsecured Claims
Norfolk, VA 23541-1223

 

Last 4 digits of account number 3377
Name and Address On which entry in Part 1 or Part 2 did you list the original creditor?
Portfolio Recovery Associates, LLC Line 4.12 of (Check one): C Part 1: Creditors with Priority Unsecured Claims

Dept. 922
P.O. Box 4115
Concord, CA 94524

WM part 2: Creditors with Nonpriority Unsecured Claims

Last 4 digits of account number

 

 

Name and Address On which entry in Part 1 or Part 2 did you list the original creditor?
Rausch Sturm Line 4.12 of (Check one): CO Part 1: Creditors with Priority Unsecured Claims
250 N. Sunnyslope Road, Suite 300

WB part 2: Creditors with Nonpriority Unsecured Claims
Brookfield, WI 53005

 

Last 4 digits of account number 4646
Name and Address On which entry in Part 1 or Part 2 did you list the original creditor?
Rena McDonald, Esq. Line 4.43 of (Check one): O part 1: Creditors with Priority Unsecured Claims

McDonald Law Group, LLC
1013 Whitney Ranch Drive, #140
Henderson, NV 89014

WF part 2: Creditors with Nonpriority Unsecured Claims

 

Last 4 digits of account number 4496
Name and Address On which entry in Part 1 or Part 2 did you list the original creditor?
Summerlin Hospital Med Ctr LLC Line 4.36 of (Check one): CO Part 1: Creditors with Priority Unsecured Claims

P.O. Box 31001-0827

i Part 2: Creditors with Nonpriority Unsecured Claims
Pasadena, CA 91110-0827

 

Last 4 digits of account number 1104
Name and Address On which entry in Part 1 or Part 2 did you list the original creditor?
The Valley Health System Customer Line 4.36 of (Check one): C2 part 1: Creditors with Priority Unsecured Claims

Svc
22639 N. 17th Street
Phoenix, AZ 85027-1303

i part 2: Creditors with Nonpriority Unsecured Claims

 

Last 4 digits of account number 1104
Name and Address On which entry in Part 1 or Part 2 did you list the original creditor?
Transworld Systems, Inc. Line 4.34 of (Check one): O Part 1: Creditors with Priority Unsecured Claims
Official Form 106 E/F Schedule E/F: Creditors Who Have Unsecured Claims

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Debtor1 Jason PeterKerrigan __ a Case number (if known)
P.O. Box 15618, Dept 33 MM Part 2: Creditors with Nonpriority Unsecured Claims
Wilmington, DE 19850-5618
Last 4 digits of account number 2388
Name and Address On which entry in Part 1 or Part 2 did you list the original creditor?
Transworld Systems, Inc. Line 4.29 of (Check one): O part 1: Creditors with Priority Unsecured Claims

P.O. Box 17221

So WW part 2: Creditors with Nonpriority Unsecured Claims
Wilmington, DE 19850

 

Last 4 digits of account number 6149
Name and Address On which entry in Part 1 or Part 2 did you list the original creditor?
Unifund CCR Partners Line 4.17 of (Check one): CI part 1: Creditors with Priority Unsecured Claims

P.O. Box 42121

~~ : part 2: Creditors with Nonpriority Unsecured Claims
Cincinnati, OH 45242-0121

Last 4 digits of account number

 

Add the Amounts for Each Type of Unsecured Claim

6. Total the amounts of certain types of unsecured claims. This information Is for statistical reporting purposes only. 28 U.S.C. §159. Add the amounts for each
type of unsecured claim.

 

 

 

 

 

 

 

 

 

Total Claim
6a. Domestic support obligations 6a. $ 0.00
Total
claims
from Part 1 6b. Taxes and certain other debts you owe the government 6b. $ 0.00
6c. Claims for death or personal Injury while you were intoxicated 6c. $ 0.00
6d. Other. Add all other priority unsecured claims. Write that amount here. 6d. $ 5,851.53
6e. Total Priority. Add lines 6a through 6d. 6e. $ 5,851.53
Total Claim
6f. Student loans 6f. $ 0.00
Total
claims
from Part 2 6g. Obligations arising out of a separation agreement or divorce that 0.00
you did not report as priority claims 6g. $ :
6h. Debts to pension or profit-sharing plans, and other similar debts 6h. $ 0.00
6i. Other. Add all other nonpriority unsecured claims. Write that amount 6i.
here, $ 579,836.56
6j. Total Nonpriority. Add lines 6f through Gi. §j. $ 579,836.56
Official Form 106 E/F Schedule E/F: Creditors Who Have Unsecured Claims Page 23 of 23

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Fill in this information to identify your case:
Debtor 4 Jason Peter Kerrigan
First Name Middle Name Last Name

Debtor 2
(Spouse if, filing) First Name Middle Name Last Name

 

United States Bankruptcy Court forthe: DISTRICT OF NEVADA

 

Case number _ _
(if known) 1 Check if this is an

amended filing

 

 

 

Official Form 106G
Schedule G: Executory Contracts and Unexpired Leases 12115

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, copy the additional page, fill it out, number the entries, and attach it to this page. On the top of any
additional pages, write your name and case number (if known).

1. Doyou have any executory contracts or unexpired leases?
1 No. Check this box and file this form with the court with your other schedules. You have nothing else to report on this form.

I Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B:Property (Official Form 106 A/B).

2. List separately each person or company with whom you have the contract or lease. Then state what each contract or lease is for (for
example, rent, vehicle lease, cell phone). See the instructions for this form in the instruction booklet for more examples of executory contracts
and unexpired leases.

Person or company with whom you have the contract or lease State what the contract or lease is for
Name, Number, Street, City, State and ZIP Code

2.1. James Kerrigan (Father) Lease of Residence
5568 Moncina Street
Las Vegas, NV 89118

 

 

Best Case Bankruptcy

Official Form 106G Schedule G: Executory Contracts and Unexpired Leases Page 1 of 1
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Filt in this information to identify your case:

Debtor 1 _Jason Peter Kerrigan
First Name Middle Name Last Name

 

Debtor 2

(Spouse if, filing) First Name Middle Name Last Name

 

United States Bankruptcy Court forthe: DISTRICT OF NEVADA

 

 

Casenumber _
(if known) OO Check if this is an
amended filing

 

 

Official Form 106H
Schedule H: Your Codebtors 12/45

Codebtors are people or entities who are also liable for any debts you may have. Be as complete and accurate as possible. If two married
people are filing together, both are equally responsible for supplying correct information. If more space is needed, copy the Additional Page,
fill it out, and number the entries in the boxes on the left. Attach the Additional Page to this page. On the top of any Additional Pages, write
your name and case number (if known). Answer every question.

1. Do you have any codebtors? (If you are filing a joint case, do not list either spouse as a codebtor.

OONo
Hl Yes

2. Within the last 8 years, have you lived in a community property state or territory? (Community property states and territories include
Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)

Bi No. Go to line 3.
C Yes. Did your spouse, former spouse, or legal equivalent live with you at the time?

3. In Column 1, list all of your codebtors. Do not include your spouse as a codebtor if your spouse is filing with you. List the person shown
in line 2 again as a codebtor only if that person is a guarantor or cosigner. Make sure you have listed the creditor on Schedule D (Official
Form 106D), Schedule E/F (Official Form 106E/F), or Schedule G (Official Form 106G). Use Schedule D, Schedule E/F, or Schedule G to fill
out Column 2.

Column 1: Your codebtor Column 2: The creditor to whom you owe the debt
Name, Number, Straet, City, State and ZIP Code Check all schedules that apply:
3.1 JK Crew, LLC (Defunct) O Schedule D, line
@ Schedule E/F, line 4.3
O Schedule G

American Express Centerion

Official Form 106H Schedule H: Your Codebtors Page 4 of 1
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Case 19-16818-abl

Fill in this information to identi

Debtor 14

Jason Peter Kerrigan

Debtor 2

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(Spouse, if filing)

United States Bankruptcy Court for the:

DISTRICT OF NEVADA

 

Case number

 

(If known)

 

Check if this is:
0 Anamended filing

 

Official Form 1061
Schedule I: Your Income

O Asupplement showing postpetition chapter
13 income as of the following date:

MM / DD/ YYYY
12/15

 

Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally responsible for
supplying correct information. If you are married and not filing jointly, and your spouse is living with you, include information about your
spouse. If you are separated and your spouse is not filing with you, do not include information about your spouse. If more space is needed,
attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.

Describe Employment __ ee

 

1. Fill in your employment
information.

If you have more than one job,
attach a separate page with
information about additional
employers.

Employment status

Occupation

Include part-time, seasonal, or '
self-employed work. Employer's name
Occupation may include student
or homemaker, if it applies.

Employer's address

How long employed there?

Give Details About Monthly Income

Debtor 1 Debtor 2 or non-filing spouse

 

New Home Counselor

i Employed 0 Employed

C1] Not employed CZ Not employed

Beazer Homes

 

2470 Paseo Verde Parkway,
Suite 135
Henderson, NV 89074

 

04/29/19

Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your non-filing

spouse unless you are separated.

If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines below. If you need

more space, attach a separate sheet to this form.

List monthly gross wages, salary, and commissions (before all payroll
2. deductions). If not paid monthly, calculate what the monthly wage would be. 2. §

3. Estimate and list monthly overtime pay.

4. Calculate gross Income. Add line 2 + line 3.

Official Form 1061

 

 

 

 

 

 

 

 

 

For Debtor 1 For Debtor 2 or
non-filing spouse
3,250.00 $ N/A
3. +$ 0.00 + N/A
4. | $ 3,250.00 $ NIA
Schedule |: Your Income Vy page 1
Debtor 4

10.

11.

12.

13.

Official Form 1061

5a.
5b.
5c.
5d.
5e.
5f.

5g.
5h.

8a.

8b.
8c.

8d.
8e.
8f.

8g.
8h.

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Jason Peter Kerrigan

 

Case number (if known)

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Specify:

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

applies

For Debtor 1 For Debtor 2 or
non-filing spouse
Copy line 4 here 4, §$ 3,250.00 $ N/A
List all payroll deductions:
Tax, Medicare, and Social Security deductions 5a. §$ 459.81 $ NIA
Mandatory contributions for retirement plans 5b. §$ 0.00 $ N/A
Voluntary contributions for retirement plans 5c. §$ 0.00 $ NIA
Required repayments of retirement fund loans 5d. $ 0.00 $ NIA
Insurance Se. $ 204.73 $ NIA
Domestic support obligations Sf 6$ 0.00 $ N/A
Union dues 5g. $ 0.00 $ N/A
Other deductions. Specify: Life Employee ee 5h.+ $ 41.99 +$ N/A
Short Term Disability $ 6.50 $ N/A
Add the payroll deductions. Add lines 5a+5b+5c+5d+5e+5f+5g+5h. 6. §$ 713.03 $ NIA
Calculate total monthly take-home pay. Subtract line 6 from line 4. 7 §$ 2,536.97 $ N/A
List all other income regularly received:
Net income from rental property and from operating a business,
profession, or farm
Attach a statement for each property and business showing gross
receipts, ordinary and necessary business expenses, and the total
monthly net income. 8a. § 0.00 $ N/A
Interest and dividends 8b. $ 0.00 $ N/A
Family support payments that you, a non-filing spouse, or a dependent
regularly receive
Include alimony, spousal support, child support, maintenance, divorce
settlement, and property settlement. 8c. § 0.00 =$ N/A
Unemployment compensation 8d. §$ 0.00 $ NIA
Social Security 8e. $ 0.00 $ NIA
Other government assistance that you regularly receive
Include cash assistance and the value (if known) of any non-cash assistance
that you receive, such as food stamps (benefits under the Supplemental
Nutrition Assistance Program) or housing subsidies.
Specify: Sf. §$ 0.00 $ NIA
Pension or retirement income 8g. $ 0.00 $ N/A
Other monthly income. Specify: B8h.+ $ 0.00 + $ NIA
Add all other income. Add lines 8a+8b+8c+8d+8e+8f+89+8h. 9. |$ 0.00! |$ N/A
Calculate monthly income. Add line 7 + line 9. 10. | $ 2,536.97 | +| $ N/A | =| $ 2,536.97
Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse.
State all other regular contributions to the expenses that you list in Schedule J.
Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and
other friends or relatives.
Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.
11. +$ 0.00
Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly income.
Write that amount on the Summary of Schedules and Statistical Summary of Certain Liabilities and Related Data, if it $ 2 536.97
Combined

Do you expect an increase or decrease within the year after you file this form?

a
O

No.

 

 

 

monthly income

 

Yes. Explain: |

Schedule I: Your Income

page 2

 

 
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Fill in this information to identify your case:

 

 

Debtor 1 Jason Peter Kerrigan Check if this is:

Ol An amended filing
Debtor 2 ] A supplement showing postpetition chapter
(Spouse, if filing) 13 expenses as of the following date:
United States Bankruptcy Court for the: DISTRICT OF NEVADA “MM/DD/YYYY

 

Case number
(If known)

 

 

 

Official Form 106J
Schedule J: Your Expenses 12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach another sheet to this form. On the top of any additional pages, write your name and case
number (if known). Answer every question.

 

 

Describe Your Household

 

1. Is this a joint case?

Hf No. Go to line 2.
CO Yes. Does Debtor 2 live in a separate household?

ONo
O Yes. Debtor 2 must file Official Form 106J-2, Expenses for Separate Household of Debtor 2.

2. Doyou have dependents? [No

 

 

 

 

 

Do not list Debtor 1 and ves Fill out this information for Dependent’s relationship to Dependent’s Does dependent
Debtor 2. * each dependent.............. Debtor 1 or Debtor 2 age tive with you?
See | See
Do not state the C1 No
dependents names. Daughter 12 ves
MNo
Son 16 oO Yes
CNo
O Yes
No
O Yes
3. Do your expenses include C1 No

expenses of people other than

yourself and your dependents? M Yes

Estimate Your Ongoing Monthly Expenses

 

 

Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report
expenses as of a date after the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of the form and fill in the
applicable date.

Include expenses paid for with non-cash government assistance if you know
the value of such assistance and have included it on Schedule |: Your Income

(Official Form 1061.) Your expenses

4. The rental or home ownership expenses for your residence. Include first mortgage
payments and any rent for the ground or lot. $ 1,400.00

 

{f not included in line 4:

 

 

 

 

4a. Real estate taxes 4a. $ 0.00
4b. Property, homeowner's, or renter’s insurance 4b. $ 0.00
4c. Home maintenance, repair, and upkeep expenses 4c. $ 0.00
4d. Homeowner's association or condominium dues 4d. $ 0.00
5. Additional mortgage payments for your residence, such as home equity loans 5. $ 0.00

 

Official Form 106J Schedule J: Your Expenses page 1
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Debtor1 Jason Peter Kerrigan

 

Case number (if known)

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

6. Utilities:
6a. Electricity, heat, natural gas 6a. $ 400.00
6b. Water, sewer, garbage collection 6b. $ 30.00
6c. Telephone, cell phone, Internet, satellite, and cable services 6c. $ 370.00
6d. Other. Specify: 6d. $ 0.00
7. Food and housekeeping supplies 7. $§ 400.00
8. Childcare and children’s education costs 8. §$ 10.00
9. Clothing, laundry, and dry cleaning 9. $ 30.00
10. Personal care products and services 10. $ 20.00
11. Medical and dental expenses 11. $ 10.00
12. Transportation. Include gas, maintenance, bus or train fare.
Do not include car payments. 12. $ 320.00
13. Entertainment, clubs, recreation, newspapers, magazines, and books 13. $ 5.00
14. Charitable contributions and religious donations 14. §$ 1.00
15. Insurance.
Do not include insurance deducted from your pay or included in lines 4 or 20.
15a. Life insurance 15a. $ 84.00
15b. Health insurance 15b. $ 0.00
15c. Vehicle insurance 15c. $ 240.00
15d. Other insurance. Specify: 15d. §$ 0.00
16. Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
Specify: 6S | - ___0.00
17. Installment or lease payments: i
17a, Car payments for Vehicle 1 17a. § - __ 0,00
17b. Car payments for Vehicle 2 17b. $ 0.00
17c. Other. Specify: oe 17c. $ 0.00,
17d. Other. Specify: a —_ _ 17d. $ 0.00
18. Your payments of alimony, maintenance, and support that you did not report as
deducted from your pay on line 5, Schedule |, Your Income (Official Form 106}). 18. $ 0.00
19. Other payments you make to support others who do not live with you. $ 0.00
Specify: ee 19.
20. Other real property expenses not included in lines 4 or 5 of this form or on Schedule I: Your Income.
20a. Mortgages on other property 20a. $ 0.00
20b. Real estate taxes 20b. §$ 0.00
20c. Property, homeowner's, or renter’s insurance 20. $ 0,00
20d. Maintenance, repair, and upkeep expenses 20d. §$ 0.00
20e. Homeowner's association or condominium dues 20e. $ 0.00
21. Other: Specify: 21. +$ 0.00
22. Calculate your monthly expenses
22a. Add lines 4 through 21. $ 3,320.00
22b. Copy line 22 (monthly expenses for Debtor 2), if any, from Official Form 106J-2 $
22c. Add line 22a and 22b. The result is your monthly expenses. $ 3,320.00
23. Calculate your monthly net income.
23a. Copy line 12 (your combined monthly income) from Schedule |. 23a. §$ 2,536.97
23b. Copy your monthly expenses from line 22c above. 23b. -$ 3,320.00
23c. Subtract your monthly expenses from your monthly income.
The result is your monthly net income. 23c. | $ -783.03
24. Do you expect an increase or decrease in your expenses within the year after you file this form?
For example, do you expect to finish paying for your car loan within the year or do you expect your mortgage payment to increase or decrease because of a
modification to the terms of your mortgage?
No.
0 Yes. | Explain here:
Mi
Official Form 106J Schedule J: Your Expenses page 2
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Fill in this information to identify your case:
Debtor 1 Jason Peter Kerrigan ee
First Name Middie Name Last Name

Debtor 2
(Spouse if, filing) First Name Middie Name Last Name

 

United States Bankruptcy Court forthe: DISTRICT OF NEVADA

 

Case number
(if known) OO Check if this is an

amended filing

 

 

 

Official Form 106Dec
Declaration About an Individual Debtor's Schedules 4245

If two married people are filing together, both are equally responsible for supplying correct information.
You must file this form whenever you file bankruptcy schedules or amended schedules. Making a false statement, concealing property, or

obtaining money or property by fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20
years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

ov Sign Below

Did you pay or agree to pay someone who is NOT an attorney to help you fill out bankruptcy forms?

 

Hz No

OO Yes. Name of person Attach Bankruptcy Petition Preparer’s Notice,
Declaration, and Signature (Official Form 119)

 

clare that | have read the summary and schedules filed with this declaration and

  

 

 

 

xX
on Peter Kerrigan Signature of Debtor 2
ignature of Debtor 1
Date October 21, 2019 Date 7 _
Official Form 106Dec Declaration About an Individual Debtor's Schedules

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Fill in this information to identify your case:

Debtor 1 Jason Peter Kerrigan
First Name Middie Name Last Name

 

Debtor 2
(Spouse if, filing) First Name Middie Name Last Name

 

United States Bankruptcy Court forthe: DISTRICT OF NEVADA

 

Case number : _
(if known) O Check if this is an
amended filing

 

 

Official Form 107
Statement of Financial Affairs for Individuals Filing for Bankruptcy 4/9

 

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case
number (if known). Answer every question.

Give Details About Your Marital Status and Where You Lived Before

1. Whatis your current marital status?

O Married
HM Not married

2. During the last 3 years, have you lived anywhere other than where you live now?

HB No

Ol Yes. List all of the places you lived in the last 3 years. Do not include where you live now.

Debtor 1 Prior Address: Dates Debtor 1 Debtor 2 Prior Address: Dates Debtor 2
lived there lived there

3. Within the last 8 years, did you ever live with a spouse or legal equivalent in a community property state or territory? (Community property
states and territories include Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington and Wisconsin.)

EH No
Ol Yes. Make sure you fill out Schedule H: Your Codebtors (Official Form 106H).

Explain the Sources of Your Income

 

4. Did you have any income from employment or from operating a business during this year or the two previous calendar years?
Fill in the total amount of income you received from all jobs and all businesses, including part-time activities.
If you are filing a joint case and you have income that you receive together, list it only once under Debtor 1.
O No
Yes. Fill in the details.

Debtor 1 Debtor 2
Sources of income Gross income Sources of income Gross income
Check all that apply. (before deductions and Check all that apply. (before deductions
exclusions) and exclusions)
From January 1 of current year until ii wages, commissions, $16,581.13 [1 Wages, commissions,
the date you filed for bankruptcy: bonuses, tips bonuses, tips

@ Operating a business CO Operating a business

 

Official Form 107 Statement of Financial Affairs for Individuals Filing for Bankruptcy page 1

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Debtor1 Jason Peter Kerrigan _

 

For last calendar year:
(January 1 to December 31, 2018 )

Debtor 1

Sources of income
Check all that apply.

Hl Wages, commissions,
bonuses, tips

@ Operating a business

 

For the calendar year before that:
(January 1 to December 31, 2017 )

a Wages, commissions,
bonuses, tips

Ci Operating a business

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Case number (if known)

Gross income
(before deductions and
exclusions)

 

Debtor 2

Sources of income
Check all that apply.

Gross income
(before deductions
and exclusions)

 

$16,087.00 [) Wages, commissions,
bonuses, tips

CZ Operating a business

$2,797.00 (Wages, commissions,

bonuses, tips

CD Operating a business

 

5. Did you receive any other income during this year or the two previous calendar years?

Include income regardless of whether that income is taxable. Examples of other income are alimony; child support; Social Security, unemployment,
and other public benefit payments; pensions; rental income; interest; dividends; money collected from lawsuits; royalties; and gambling and lottery
winnings. If you are filing a joint case and you have income that you received together, list it only once under Debtor 1.

List each source and the gross income from each source separately. Do not include income that you listed in line 4.

O No
HI Yes. Fill in the details.

For the calendar year before that:
(January 1 to December 31, 2017 )

Debtor 1
Sources of income
Describe below.

Gross income from
each source

(before deductions and
exclusions)

Debtor 2
Sources of income
Describe below.

Gross income
(before deductions
and exclusions)

 

 

Unemployment $3,932.00
John Hancock Life $36,069.21
Insurance Company

(Death Benefit

08/15/2017)

John Hancock Life $506.00

Insurance Company
(Interest Payment)

 

List Certain Payments You Made Before You Filed for Bankruptcy

6. Are either Debtor 1’s or Debtor 2’s debts primarily consumer debts?

individual primarily for a personal, family, or household purpose.”

Neither Debtor 1 nor Debtor 2 has primarily consumer debts. Consumer debts are defined in 11 U.S.C. § 101(8) as “incurred by an

During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $6,825* or more?

List below each creditor to whom you paid a total of $6,825* or more in one or more payments and the total amount you

paid that creditor. Do not include payments for domestic support obligations, such as child support and alimony. Also, do
not include payments to an attorney for this bankruptcy case.
* Subject to adjustment on 4/01/22 and every 3 years after that for cases filed on or after the date of adjustment.

Debtor 1 or Debtor 2 or both have primarily consumer debts.

During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $600 or more?

O No.
O No. Go to line 7.
Dyes

M Yes.
HM No. Gotoline7.
0 Yes

List below each creditor to whom you paid a total of $600 or more and the total amount you paid that creditor. Do not

include payments for domestic support obligations, such as child support and alimony. Also, do not include payments to an
attorney for this bankruptcy case.

Official Form 107

Statement of Financial Affairs for Individuals Filing for Bankruptcy

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Debtor 1 _Jason Peter Kerrigan Case number (if known) -
Creditor's Name and Address Dates of payment Total amount Amount you Was this payment for ...
paid still owe

7. Within 1 year before you filed for bankruptcy, did you make a payment on a debt you owed anyone who was an insider?
Insiders include your relatives; any general partners; relatives of any general partners; partnerships of which you are a general partner; corporations
of which you are an officer, director, person in control, or owner of 20% or more of their voting securities; and any managing agent, including one for
a business you operate as a sole proprietor. 11 U.S.C. § 101. Include payments for domestic support obligations, such as child support and

alimony.

H No

O Yes. List all payments to an insider.

Insider's Name and Address Dates of payment Total amount Amount you Reason for this payment
paid still owe

8. Within 1 year before you filed for bankruptcy, did you make any payments or transfer any property on account of a debt that benefited an
insider?

Include payments on debts guaranteed or cosigned by an insider.

B@ No

D0 sYes. List all payments to an insider

Insider's Name and Address Dates of payment Total amount Amount you —_— Reason for this payment
paid stillowe Include creditor's name

Identify Legal Actions, Repossessions, and Foreclosures

9. Within 1 year before you filed for bankruptcy, were you a party in any lawsuit, court action, or administrative proceeding?

List all such matters, including personal injury cases, small claims actions, divorces, collection suits, paternity actions, support or custody
modifications, and contract disputes.

O No
HM Yes. Fill in the details.

 

 

Case title Nature of the case Court or agency Status of the case
Case number
Jenna Montanaro, AKA Jenna Family Court Clark County Family Court O Pending
Kerrigan v. Jason Kerrigan Custody Dispute 601 North Pecos Road O On appeal
R-18-207958-R Las Vegas, NV 89155 H@ Concluded
Kerrigan v. Kerrigan Child Support Clark County District O Pending
UPI -719061300A Attorney 0D On appeal
200 Lewis Avenue a
Las Vegas, NV 89101 Concluded
Discover Bank v. Jason Kerrigan Credit Card Justice Court Las Vegas D Pending
180009967 Collection Township (1 On appeal
Regional Justice Center @ Concluded

200 Lewis Avenue

Las Vegas, NV 89101 Writ of Execution -

Judgment against Jason

 

 

 

Kerrigan
Velocity Investments, LLC Collection Re Justice Court Las Vegas O Pending
Assignee of Posper Funding, LLC Contract Township OC On appeal
Assignee of Webbank v. Jason Regional Justice Center H Concluded
Kerrigan 200 Lewis Avenue
180004496 Las Vegas, NV 89101
Official Form 107 Statement of Financial Affairs for Individuals Filing for Bankruptcy page 3

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Debtor1 Jason Peter Kerrigan — Case number (if known)
Case title Nature of the case Court or agency Status of the case
Case number
In the Matter of the Joint Petition Divorce Clark County Family Court OC Pending
for Divorce of Jenna Sarah 601 North Pecos Road (C) On appeal
Kerrigan and Jason Kerrigan Las Vegas, NV 89155 a
D433924 Concluded
Discover Bank v. Jason P. Kerrigan Credit Card Justice Court Las Vegas O) Pending
170020288 Collection Township CO On appeal
Regional Justice Center nm
200 Lewis Avenue Concluded
Las Vegas, NV 89101
Unifund CCR Partners v. Jason Contract Buyer Justice Court Las Vegas O Pending
Kerrigan Plaintiff Township O on appeal
190018537 Regional Justice Center ® Concluded

200 Lewis Avenue
Las Vegas, NV 89101

 

10. Within 1 year before you filed for bankruptcy, was any of your property repossessed, foreclosed, garnished, attached, seized, or levied?
Check all that apply and fill in the details below.

O No. Go to line 11.
HB Yes. Fill in the information below.

Creditor Name and Address Describe the Property Date Value of the
property
Explain what happened
Discover Funds garnished from Wells Fargo Account 01/29/2019 $142.16
clo Guglielmo & Associates No. 8605.
415 South Sixth Street, Suite 320
Las Vegas, NV 89101 C1 Property was repossessed.

CZ Property was foreclosed.
B Property was garnished.

C1 Property was attached, seized or levied.

11. Within 90 days before you filed for bankruptcy, did any creditor, including a bank or financial institution, set off any amounts from your
accounts or refuse to make a payment because you owed a debt?

M@ No
O Yes. Fill in the details.

Creditor Name and Address Describe the action the creditor took Date action was Amount
taken

12. Within 1 year before you filed for bankruptcy, was any of your property in the possession of an assignee for the benefit of creditors, a
court-appointed receiver, a custodian, or another official?

M No
O Yes

(GEER List Certain Gifts and Contributions

13. Within 2 years before you filed for bankruptcy, did you give any gifts with a total value of more than $600 per person?
MH No

Ol Yes. Fill in the details for each gift.

Gifts with a total value of more than $600 Describe the gifts Dates you gave Value
per person the gifts
Person to Whom You Gave the Gift and
Address:
Official Form 107 Statement of Financial Affairs for Individuals Filing for Bankruptcy page 4

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y
Debtor1 Jason Peter Kerrigan Case number (if known)

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14. Within 2 years before you filed for bankruptcy, did you give any gifts or contributions with a total value of more than $600 to any charity?

HM No

O Yes. Fill in the details for each gift or contribution.

Gifts or contributions to charities that total Describe what you contributed Dates you Value
more than $600

contributed
Charity's Name

Address (Number, Street, City, State and ZIP Code)

List Certain Losses

15. Within 1 year before you filed for bankruptcy or since you filed for bankruptcy, did you lose anything because of theft, fire, other disaster,

or gambling?

O No

@ yes. Fill in the details.

Describe the property you lost and Describe any insurance coverage for the loss Date of your Value of property

how the loss occurred Include the amount that insurance has paid. List pending '88 lost
insurance claims on line 33 of Schedule A/B: Property.

American Express Credit None 2/11/2016 - $283,317.98

Card/Google Ads. Non-payment 03/10/2016

of media buys by customer
(alleged lost due to hacking).
LVMPD Report No.
LLV170801002930

List Certain Payments or Transfers

16. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone you

17.

consulted about seeking bankruptcy or preparing a bankruptcy petition?
Include any attorneys, bankruptcy petition preparers, or credit counseling agencies for services required in your bankruptcy.

O No
EE Yes. Fill in the details.

Person Who Was Paid Description and value of any property Date payment Amount of

Address transferred or transfer was payment
Email or website address made

Person Who Made the Payment, if Not You

Schwartzer & McPherson Law Firm Attorney Fees 08/15/2019 $2,000.00
2850 S. Jones Bivd., Suite 1

Las Vegas, NV 89146
James F. Kerrigan Trust

 

Schwartzer & McPherson Law Firm Attorney Fees 09/05/2019 $3,000.00
2850 S. Jones Blvd., Suite 1

Las Vegas, NV 89146
James F. Kerrigan Trust

 

Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone who
promised to help you deal with your creditors or to make payments to your creditors?
Do not include any payment or transfer that you listed on line 16.

WM No
O Yes. Fill in the details.
Person Who Was Paid Description and value of any property Date payment Amount of
Address transferred or transfer was payment
made
Official Form 107 Statement of Financial Affairs for Individuals Filing for Bankruptcy / page 5

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Debtor1 Jason Peter Kerrigan Case number (if known)

 

18. Within 2 years before you filed for bankruptcy, did you sell, trade, or otherwise transfer any property to anyone, other than property
transferred in the ordinary course of your business or financial affairs?

Include both outright transfers and transfers made as security (such as the granting of a security interest or mortgage on your property). Do not
include gifts and transfers that you have already listed on this statement.

He No
Cl] Yes. Fill in the details.

Person Who Received Transfer Description and value of Describe any property or Date transfer was
Address property transferred payments received or debts made

paid in exchange
Person's relationship to you

19. Within 10 years before you filed for bankruptcy, did you transfer any property to a self-settied trust or similar device of which you are a
beneficiary? (These are often called assef-protection devices.)

MH No
0] Yes. Fill in the details.

Name of trust Description and value of the property transferred Date Transfer was
made

List of Certain Financial Accounts, Instruments, Safe Deposit Boxes, and Storage Units

20. Within 1 year before you filed for bankruptcy, were any financial accounts or instruments held in your name, or for your benefit, closed,
sold, moved, or transferred?

Include checking, savings, money market, or other financial accounts; certificates of deposit; shares in banks, credit unions, brokerage
houses, pension funds, cooperatives, associations, and other financial institutions.

HM No
O Yes. Fill in the details.

Name of Financial Institution and Last 4 digits of Type of account or Date account was Last balance

Address (Number, Street, City, State and ZIP account number instrument closed, sold, before closing or

Code) moved, or transfer
transferred

21. Do you now have, or did you have within 1 year before you filed for bankruptcy, any safe deposit box or other depository for securities,
cash, or other valuables?

O No
Yes. Fill in the details.

Name of Financial Institution Who else had access to it? Describe the contents Do you still
Address (Number, Street, City, State and ZIP Code) Address (Number, Street, City, have it?

State and ZIP Code)

Wells Fargo Bank Lisa Williams (Sister) None. The boxes are empty. CNo
11730 W. Charleston Blvd 2200 S. Ft. Apache Rd, yes

Las Vegas, NV 89135 Unit 1214

Las Vegas, NV 89117

James Kerrigan (Father)
5568 Moncina Street
Las Vegas, Nevada
89118

22. Have you stored property in a storage unit or place other than your home within 1 year before you filed for bankruptcy?

H No
0 sYes. Fill in the details.

Name of Storage Facility Who else has or had access Describe the contents Do you still
Address (Number, Street, City, State and ZIP Code) to it? have it?
Address (Number, Street, City,
State and ZIP Code)
Official Form 107 Statement of Financial Affairs for Individuals Filing for Bankruptcy page 6

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Debtor1 Jason Peter Kerrigan Case number (if known)

 

Identify Property You Hold or Control for Someone Else

23. Do you hold or control any property that someone else owns? Include any property you borrowed from, are storing for, or hold in trust

for someone.

HM No

O Yes. Fill in the details.
Owner's Name Where is the property? Describe the property Value
Address (Number, Street, City, State and ZIP Code) (Number, Street, City, State and ZIP

Code)
iain Give Details About Environmental Information

For the purpose of Part 10, the following definitions apply:

Hl sEnvironmental law means any federal, state, or local statute or regulation concerning pollution, contamination, releases of hazardous or
toxic substances, wastes, or material into the air, land, soil, surface water, groundwater, or other medium, including statutes or
regulations controlling the cleanup of these substances, wastes, or material.

Site means any location, facility, or property as defined under any environmental law, whether you now own, operate, or utilize it or used
to own, operate, or utilize it, including disposal sites.

Hazardous material means anything an environmental law defines as a hazardous waste, hazardous substance, toxic substance,
hazardous material, pollutant, contaminant, or similar term.

Report all notices, releases, and proceedings that you know about, regardless of when they occurred.

24. Has any governmental unit notified you that you may be liable or potentially liable under or in violation of an environmental law?

M@ No

C Yes. Fill in the details.

Name of site Governmental unit Environmental law, if you Date of notice
Address (Number, Street, City, State and ZIP Code) Address (Number, Street, City, State and know it

ZIP Code)

25. Have you notified any governmental unit of any release of hazardous material?

M@ No

O Yes. Fill in the details.

Name of site Governmental unit Environmental law, if you Date of notice
Address (Number, Street, City, State and ZIP Code) Address (Number, Street, City, State and know it

ZIP Code)

26. Have you been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

H No
O Yes. Fill in the details.
Case Title Court or agency Nature of the case Status of the
Case Number Name case
Address (Number, Street, City,
State and ZIP Code}

Give Details About Your Business or Connections to Any Business
27. Within 4 years before you filed for bankruptcy, did you own a business or have any of the following connections to any business?
OA sole proprietor or self-employed in a trade, profession, or other activity, either full-time or part-time
OA member of a limited liability company (LLC) or limited liability partnership (LLP)
OA partner in a partnership
Dan officer, director, or managing executive of a corporation

C1 An owner of at least 5% of the voting or equity securities of a corporation

Official Form 107 Statement of Financial Affairs for Individuals Filing for Bankruptcy page 7

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Debtor1 Jason Peter Kerrigan

1 No. None of the above applies. Go to Part 12.

M@ Yes. Check all that apply above and fill in the details below for each business.

Business Name
Address
{Number, Street, City, State and ZIP Code)

Describe the nature of the business

Name of accountant or bookkeeper

Golden Valley Customs II LLC
4 Pine Hollow Drive
Henderson, NV 89052

Owns property in Mohave County

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Case number (if known)

 

Employer !dentification number
Do not include Social Security number or ITIN.

Dates business existed
EIN: XX-XXXXXXX

From-To 2005 - Present

 

 

Valley 68 LLC
5348 Vegas Drive
Las Vegas, NV 89108

Owned property in Kingman, AZ

 

EIN: XX-XXXXXXX

From-To 03/27/2007 - 3/31/2018

 

JK Crew LLC
5348 Vegas Drive
Las Vegas, NV 89108

Internet Marketing

 

SBJ Media LLC
5348 Vegas Drive
Las Vegas, NV 89108

Internet Marking

 

 

EIN: XX-XXXXXXX

From-To 3/19/2009 - 8/13/2018

 

EIN: XX-XXXXXXX

From-To 3/16/2009 - 12/17/2013

 

Radius Development, LLC Never Operated

EIN: 87-079528

From-To 03/09/2007 - 3/31/2012

 

28. Within 2 years before you filed for bankruptcy, did you give a financial statement to
institutions, creditors, or other parties.

O No

Yes. Fill in the details below.

Name Date Issued
Address

(Number, Street, City, State and ZIP Code)

Clark County Family Court 2016 - 2018

601 N. Pecos Road
Las Vegas, NV 89101

usree Sign Below

anyone about your business? Include all financial

 

| have read the answers on this Statement of Financial Affairs and any attachments, and

  
 

§ 152, 1341, 1519, and 3571.

 

| declare under penalty of perjury that the answers

correct. | understand that making a false statement, concealing property, or obtaining money or property by fraud in connection
kruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both.

 

  
 

as6n Peter Kerrigan Signature of Debtor 2
Signaftre of Debtor 1
Date October 21, 2019 Date

 

 

Did you attach additional pages to Your Statement of Financial Affairs for Individuals Filing for Bankruptcy (Official Form 107)?

MNo

0 Yes

Did you pay or agree to pay someone who is not an attorney to help you fill out bankruptcy forms?
HNo

D Yes. Name of Person . Attach the Bankruptcy Petition Preparer's Notice, Declaration,

Official Form 107

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Statement of Financial Affairs for Individuals Filing for Bankruptcy

and Signature (Official Form 119). f

page 8

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Fill in this information to identify your case:

 

 

 

Debtor 1 Jason Peter Kerrigan

First Name Middle Name Last Name
Debtor 2 ===: =e Ses
(Spouse if, filing) First Name Middle Name Last Name

United States Bankruptcy Court forthe: DISTRICT OF NEVADA

 

Case number _
(if known) O Check if this is an
amended filing

 

 

Official Form 108
Statement of Intention for Individuals Filing Under Chapter 7 12/15

If you are an individual filing under chapter 7, you must fill out this form if:

@ creditors have claims secured by your property, or

a you have leased personal property and the lease has not expired.

You must file this form with the court within 30 days after you file your bankruptcy petition or by the date set for the meeting of creditors,

whichever is earlier, unless the court extends the time for cause. You must also send copies to the creditors and lessors you list
on the form

If two married people are filing together in a joint case, both are equally responsible for supplying correct information. Both debtors must
sign and date the form.

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write your name and case number (if known).

List Your Creditors Who Have Secured Claims

1. For any creditors that you listed in Part 1 of Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D), fill in the
information below.

Identify the creditor and the property that is collateral What do you intend to do with the property that Did you claim the property
secures a debt? as exempt on Schedule C?
Creditors Luis Castro CO Surrender the property. 0 No
name. C Retain the property and redeem it.
_ CZ Retain the property and enter into a Hf Yes
Description of 2002 Porsche 911 Carrera Reaffirmation Agreement.
property 87,000 miles

@ Retain the property and [explain]:
Debtor will continue to make payments
to Creditor as required by Creditor.

securing debt; Salvage Title Rebuilt

 

 

List Your Unexpired Personal Property Leases

For any unexpired personal property lease that you listed in Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G), fill
in the information below. Do not list real estate leases. Unexpired leases are leases that are still in effect; the lease period has not yet ended.
You may assume an unexpired personal property lease if the trustee does not assume it. 11 U.S.C. § 365(p)(2).

Describe your unexpired personal property leases Will the lease be assumed?
Lessor's name: O No
Description of leased
Property: O Yes
Lessor's name: O) No
Description of leased
Property: O Yes
Official Form 108 Statement of Intention for Individuals Filing Under Chapter 7 page 1

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Debtor1 Jason Peter Kerrigan Case number (ifknown) oe
Lessor's name: OO No
Description of leased

Property: 0 Yes
Lessor's name: O No
Description of leased

Property: OC Yes
Lessor's name: OO No
Description of leased

Property: O Yes
Lessor's name: O No
Description of leased

Property: O Yes
Lessor's name: O No
Description of leased

Property: O Yes

 

  

 

 

Xo —
4Son Peter Kerrigan / Signature of Debtor 2
Signature of Debtor 1
Date October21,2019  —C Date
Official Form 108 Statement of Intention for Individuals Filing Under Chapter 7 page 2

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B2030 (Form 2030) (12/15)

United States Bankruptcy Court
District of Nevada

Inre _Jason Peter Kerrigan ee _ CUS NO ae
Debtor(s) Chapter 7

 

DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR(S)

1. Pursuant to 11 U.S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the above named debtor(s) and that
compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for services rendered or to
be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:

For legal services, | have agreed to accept, ee BL 465.00
Prior to the filing of this statement] have received ss $ 4,665.00
Balance Du@ 0. sacsenusccarnnuunsanmmnemmonenaamnammeii (‘9 0.00

2. $ 335.00 of the filing fee has been paid.

3. | The source of the compensation paid to me was:

O Debtor Hi Other (specify): James F. Kerrigan Trust

4. The source of compensation to be paid to me is:

@ Debtor D_ Other (specify):

5. [| have not agreed to share the above-disclosed compensation with any other person unless they are members and associates of my law firm.

1 Ihave agreed to share the above-disclosed compensation with a person or persons who are not members or associates of my law firm. A
copy of the agreement, together with a list of the names of the people sharing in the compensation is attached.

6.  Inreturn for the above-disclosed fee, 1 have agreed to render legal service for all aspects of the bankruptcy case, including:

Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file a petition in bankruptcy;
Preparation and filing of any petition, schedules, statement of affairs and plan which may be required;

Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;

. [Other provisions as needed]

ae op

7. By agreement with the debtor(s), the above-disclosed fee does not include the following service:

 

CERTIFICATION

I certify that the foregoing is a complete statement of any agreement or arr,
this bankruptcy proceeding.

  
 
   

e for representation of the debtor(s) in

October 21, 2019 ;
Date Lenard E. Schwartzer 0399 \/
Signature of Attorney
Schwartzer & McPherson Law Firm
2850 S. Jones Blvd., Suite 1
Las Vegas, NV 89146 |
(702) 228-7590 Fax: (702) 892-0122
bkfilings@s-mlaw.com
Name of law firm

 

 

 

 

 

 

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United States Bankruptcy Court
District of Nevada

Inre Jason Peter Kerrigan Case No.
Debtor(s) Chapter 7

 

VERIFICATION OF CREDITOR MATRIX

The above-named Debtor hereby verifies that the attached list of creditors is true and correct to the best of his/her knowledge.

Date: October 21, 2019

 

 

 

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Adam Kesselheim

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American Express Blue

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Los Angeles, CA 90096-8000

American Express Centerion
Acct No x-x4001

Box 0001

Los Angeles, CA 90096-8000

American Express Gold

Acct No x2005

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American Express Optima
Acct No x-x5003

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7201 W. Post Road

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American Medical Response
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7201 W. Post Road

Las Vegas, NV 89113
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American Medical Response
Acct No xxXxxxxxxx8301
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Las Vegas, NV 89113-9000

AssetRecovery Solutions, LLC
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2200 E. Devon Ave., Suite 200
Des Plaines, IL 60018-4501

Bank of America

Acct No XxXxXxX—-XXXX~XXxXx-0855
P.O. Box 851001

Dallas, TX 75285-1001

Bank of America

Acct No XxXXX-XXXX-XXxXxX-7235
P.O. Box 982235

El Paso, TX 79998-2235

Barclays Luxury Card

Acct No XXXX-XXXX-XXxXxX-3047
P.O. Box 60517

City of Industry, CA 91716-0517

Barclays Wyndham Rewards

Acct NO XxXxXxX-XxXxXX-xXxXxx-9507
Card Services

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City of Industry, CA 91716-0517

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Capio Partners, LLC

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Capital Management Services, LP
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CARENow

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Citi Bank

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Sioux Falls, SD 57117

Citi Card

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Phoenix, AZ 85062

Client Services

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Community Ambulance

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Henderson, NV 89074

Community Ambulance

Acct No x0262

91 Corporate Park Dr. #120
Henderson, NV 89074

Credence Resource Management LLC
Acct No 9932

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Dallas, TX 75248

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Spring Mountain Treatment Center
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Las Vegas, NV 89117

Summerlin Hospital
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Las Vegas, NV 89117

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Acct No 1104

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Las Vegas, NV 89109

Sunrise Children's Hospital/NPAS Inc.
Acct No xxx2989

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Sunrise Childrens Hospital/NPAS Inc.
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Sunrise Childrens Hospital/NPAS Inc.
Acct No xxxxx5139

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Phoenix, AZ 85027-1303

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Wilmington, DE 19850-5618

Transworld Systems, Inc.
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Prosper Funding LLC, Assignee of WebBank
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